       Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 1 of 78



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 6

 7

 8                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
                                        Case No.: 2:24-at-1244
11
     A.D. and A.O.S., individually
12   and on behalf of all others        CLASS ACTION COMPLAINT
13   similarly situated,
                                        JURY TRIAL DEMANDED
14                 Plaintiffs,
                                        1. VIOLATION OF ELECTRONIC
15
            v.                          COMMUNICATIONS PRIVACY
16                                      ACT, 18 U.S.C. § 2511(1), et seq.;
17
     CHURCH & DWIGHT CO.,
     INC. d/b/a FIRST RESPONSE,         2. VIOLATION OF THE
18                                      CALIFORNIA INVASION OF
                   Defendant            PRIVACY ACT
19
                                        Cal. Penal Code §§ 630, et seq.;
20

21
                                        3. COMMON LAW INVASION OF
                                        PRIVACY—INTRUSION UPON
22                                      SECLUSION;
23
                                        4. UNJUST ENRICHMENT
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                            CLASS ACTION COMPLAINT - 1
         Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 2 of 78



 1          Plaintiffs A.D. and A.O.S. (“Plaintiffs”) bring this class action lawsuit,
 2 on behalf of themselves and all others similarly situated, against Church &

 3 Dwight Co., Inc. d/b/a First Response (“First Response” or “Defendant). The

 4 allegations set forth herein are based on Plaintiffs’ personal knowledge, upon

 5 due investigation by their counsel and, where indicated, upon information and

 6 good faith belief. Plaintiffs believe that substantial additional evidentiary

 7 support will exist for the allegations set forth herein, after a reasonable

 8 opportunity for discovery.

 9                                 INTRODUCTION
10          1.    Plaintiffs bring this case to address Defendant’s unlawful
11 practice of disclosing Plaintiffs’ and Class Members’ confidential personally

12 identifiable information (“PII”) and protected health information (“PHI”)

13 (collectively referred to as “Private Information”) to third parties, including

14 Meta Platforms, Inc. d/b/a Meta (“Facebook”) and Google, Inc. (“Google”),

15 without consent, through the use of tracking software that is embedded in

16 Defendant’s First Response website.

17          2.    Defendant produces a variety of advanced consumer diagnostic
18 products, under several different brands, including First Response-branded

19 pregnancy testing kits. First Response products include test kits for several

20 sensitive health conditions, including fertility, ovulation and pregnancy

21 status.1

22          3.    In order to market and sell its products, Defendant owns and
23 controls https://www.firstresponse.com/en/(“Defendant’s Website” or the

24

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26   1
      https://www.firstresponse.com/en (last visited Sept. 20, 2024). On
   information and belief, Defendant sells its First Response products in all 50
27 states, including California.

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                             CLASS ACTION COMPLAINT - 2
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 3 of 78



 1 “Website”), which it encourages customers to use for reviewing and

 2 purchasing pregnancy, fertility and ovulation test kits.

 3        4.    Unbeknownst to customers, Defendant installed third-party
 4 tracking technologies such as the Meta Pixel (“Facebook Pixel” or “Pixel”),

 5 as well as Google Analytics, DoubleClick and Google Tag Manager (together

 6 with the Facebook Pixel, “Tracking Tools”), onto the Website. These

 7 Tracking Tools track and collect communications with the Defendant via the

 8 Website and surreptitiously force the user’s web browser to send those

 9 communications to undisclosed third parties, such as Facebook and/or

10 Google.

11        5.    Plaintiffs and Class Members used the Website to submit
12 information related to their past, present, or future health conditions,

13 including reviewing and purchasing pregnancy, fertility and ovulation test

14 kits. Such Private Information would allow the third party (e.g., Facebook or

15 Google) to know that a specific customer had a specific type of medical

16 condition such as, for example, that they are pregnant and/or are trying to

17 conceive.

18        6.    Facebook connects user data from Defendant’s Website to the
19 individual’s Facebook ID (FID). The FID links the user to her/his Facebook

20 profile, which contains detailed information about the profile owner’s identity

21 sufficient to identify them personally.

22        7.    Similarly, Google “stores users’ logged-in identifier on non-
23 Google websites…in its logs … Whenever a user logs-in on non-Google

24 websites, whether in private browsing mode or non-private browsing mode,

25 the same identifier is associated with the data Google collects from the user’s

26 browsing activities on that website. Google further logs all such data (private

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                          CLASS ACTION COMPLAINT - 3
         Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 4 of 78



 1 and non-private) within the same logs and uses these data for serving

 2 personalized ads.”2

 3            8.    Upon information and belief, Google uses DoubleClick cookies
 4 such as DSID and IDE that operate similarly to the unique Facebook ID, to

 5 track users across websites and target them with ads based on their browsing

 6 activities.

 7            9.    Facebook tracks and collects data even on people who do not
 8 have a Facebook account or have deactivated their Facebook accounts. Those

 9 individuals can find themselves in an even worse situation because even

10 though their Private Information is sent to Facebook—without their

11 consent—they cannot clear past activity or disconnect the collection of future

12 activity since they do not possess an account (or an active account).3

13            10.   Then, completely unencumbered by any pretense of restriction
14 or regulation, Facebook and Google, in turn, use that Private Information for

15 various business purposes, including using such information to “improve”

16 advertisers’ ability to target specific demographics and selling such

17 information to third-party marketers who target those Users online (through

18 their Facebook, Instagram, Gmail and other social media and personal

19 accounts):

20                  Along with encouraging businesses to spend ad
                    dollars, Facebook also receives the transmitted data,
21                  and can use it to hone its algorithms. Facebook can
                    also use data from the pixel to link website visitors
22
     2
         See Brown v. Google LLC, Case No. 4:20-cv-3664-YGR, 2023 WL 5029899
23 (N.D. Cal. Aug. 7, 2023) (order denying summary judgment and citing
     internal evidence from Google employees).
24
     3
         In the past, these were referenced as “ghost accounts” or “shadow profiles.”
25 See Laura Hautula, Shadow profiles: Facebook has information you didn’t
     hand            over,         CNET            (April          11,        2018),
26 https://www.cnet.com/news/privacy/shadow-profiles-facebook-has-
     information-you-didnt-hand-over/.
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                              CLASS ACTION COMPLAINT - 4
         Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 5 of 78



                  to their Facebook accounts, meaning businesses can
 1                reach the exact people who visited their sites. The
                  pixel collects data regardless of whether the visitor
 2                has an account.4
 3          11.   Simply put, the health information disclosed through tracking
 4 technologies is personally identifiable.

 5          12.   In addition to the Tracking Tools, upon information and belief
 6 Defendant      also installed and implemented Facebook’s Conversions
 7 Application Programming Interface (“CAPI”) on its Website servers.5

 8          13.   Unlike the Facebook Pixel, which co-opts a website user’s
 9 browser and forces it to transmit information to Facebook in addition to the

10 website owner, CAPI does not cause the user’s browser to transmit

11 information directly to Facebook. Instead, CAPI tracks the user’s website

12 interaction, including Private Information, records and stores that information

13 on the website owner’s servers, and then transmits the data to Facebook from

14 the website owner’s servers.6, 7 Indeed, Facebook markets CAPI as a “better

15 measure [of] ad performance and attribution across your customer’s full

16

17
     4
     See Colin Lecher & Ross Teixeira, Facebook Watches Teens Online As They
18 Prep       For    College,     THE     MARKUP          (Nov.    22,    2023),
   https://themarkup.org/pixel-hunt/2023/11/22/facebook-watches-teens-
19 online-as-they-prep-for-college (stating that “[b]usinesses embed the pixel on
   their own websites voluntarily, to gather enough information on their
20 customers so they can advertise to them later on Meta’s social platforms”)
   (last visited Sept. 14, 2024).
21
     5
     “CAPI works with your Facebook pixel to help improve the performance
22 and     measurement of your Facebook ad campaigns.” See
   https://www.fetchfunnel.com/how-to-implement-facebook-conversions-api-
23 in-shopify/ (last visited Sept. 20, 2024).
   6
     https://revealbot.com/blog/facebook-conversions-api/ (last visited Sept. 20,
24 2024).

25   7
    “Server events are linked to a dataset ID and are processed like events sent
   via the Meta Pixel…. This means that server events may be used in
26 measurement, reporting, or optimization in a similar way as other connection
   channels.”,                 https://developers.facebook.com/docs/marketing-
27 api/conversions-api (last visited Sept. 20, 2024).

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                            CLASS ACTION COMPLAINT - 5
         Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 6 of 78



 1 journey, from discovery to conversion. This helps you better understand how

 2 digital advertising impacts both online and offline results.”8

 3          14.   Because CAPI is located on the website owner’s servers and is
 4 not a bug planted onto the website user’s browser, it allows website owners

 5 like Defendant to circumvent any ad blockers or other denials of consent by

 6 the website user that would prevent the Pixel from sending website users’

 7 Private Information to Facebook directly.

 8          15.   Defendant utilized the Facebook Pixel, Google tracking codes
 9 and CAPI data for marketing purposes to bolster their profits. The Tracking

10 Tools and CAPI are routinely used to target specific customers by utilizing

11 data and information from users’ communications with the Website to build

12 profiles for the purposes of retargeting and future marketing. Facebook and

13 Google also use Plaintiffs’ and Class Members’ Private Information to create

14 targeted advertisements based on the medical conditions and other

15 information disclosed to Defendant.

16          16.   Information concerning a person’s physical and mental health is
17 among the most confidential and sensitive information in our society and the

18 mishandling of such information can have serious consequences including,

19 but certainly not limited to, discrimination in the workplace and/or denial of

20 insurance coverage.9

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     8
      https://www.facebook.com/business/help/2041148702652965?id=8188590
22 32317965 (last visited Sept. 20, 2024).

23   9
     See Lindsey Ellefson, Telehealth Sites Put Addiction Patient Data at Risk:
   New research found pervasive use of tracking tech on substance-abuse-
24 focused health care websites, potentially endangering users in a post-Roe
   world (Nov. 16, 2022), https://www.wired.com/story/substance-abuse-
25 telehealth-privacy-tracking-tech/ (last visited Sept. 19, 2024) (“While the
   sharing of any kind of patient information is often strictly regulated or outright
26 forbidden, it’s even more verboten in addiction treatment, as patients’ medical
   history can be inherently criminal and stigmatized.”); see also Todd Feathers,
27

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                           CLASS ACTION COMPLAINT - 6
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 7 of 78



 1           17.   Simply put, if people do not trust that their sensitive private
 2 information will be kept private and secure, they may be less likely to seek

 3 medical treatment which can lead to much more serious health consequences

 4 down the road. In addition, protecting medical information and making sure

 5 it is kept confidential and not disclosed to unauthorized entities is vitally

 6 necessary to maintain public trust in the healthcare system as a whole.

 7           18.   Information that someone is pregnant or is trying to become
 8 pregnant is among the most valuable types of data, reported to “worth as much

 9 as knowing the age, sex and location of up to 200 individuals since the critical

10 decisions women make during this time (bottles, diapers etc [sic]) can dictate

11 their patters over the next several years.”10

12           19.   In secretly deploying the Tracking Tools on its Website to
13 intercept and disclose website communications concerning its customers’ PHI

14 and PII, Defendant acted with a tortious and criminal purpose in violation of

15 state and federal laws.

16           20.   The United States Department of Health and Human Services
17 (HHS) has established “Standards for Privacy of Individually Identifiable

18 Health Information” (also known as the “Privacy Rule”) governing how

19 health care providers must safeguard and protect Private Information. Under

20 the Health Insurance Portability and Accountability Act of 1996 (HIPAA)

21

22 Simon Fondrie-Teitler, Angie Waller & Surya Mattu, Facebook Is Receiving
   Sensitive Medical Information from Hospital Websites (June 16, 2022),
23 available    at    https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-
   receiving-sensitive-medical-information-from-hospital-websites (last visited
24 Sept. 19, 2024).

25   10
      Stephanie Feilinger, Just Media, Inc., An Interesting Experiment on Big
   Data Marketing: One Woman’s Experience in Trying to Hide her Pregnancy
26 (July    30, 2014), https://justglobal.com/insights/stefanie-feilinger/an-
   interesting-experiment-on-big-data-marketing-one-womans-experience-in-
27 trying-to-hide-her-pregnancy/ (last visited Sept. 19, 2024).

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                             CLASS ACTION COMPLAINT - 7
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 8 of 78



 1 Privacy Rule, no health care provider can disclose a person’s personally

 2 identifiable protected health information to a third party without express

 3 written authorization.

 4           21.   In addition, as explained further below, HHS has specifically
 5 warned healthcare regulated entities that tracking technologies like those used

 6 by Defendant transmit personally identifying information to third parties,

 7 including on the public portion of the website, and that such information

 8 should not be transmitted without a HIPAA-acceptable written authorization

 9 from patients.

10           22.   The Federal Trade Commission (FTC) has also warned
11 healthcare entities that “even if you are not covered by HIPAA, you still have

12 an obligation to protect against impermissible disclosures of personal health

13 information under the FTC Act and the FTC Health Breach Notification

14 Rule.”11

15           23.   Despite these warnings, Defendant embedded hidden Tracking
16 Tools and, upon information and good faith belief, CAPI on the Website and

17 its servers, essentially planting a bug on customers’ web browsers that forced

18 them disclose private and confidential communications to third parties.

19 Defendant did not disclose the presence of these Tracking Tools to their

20 Website users and customers.

21           24.   Healthcare customers simply do not anticipate or expect that
22 their trusted healthcare provider will send personal health information or

23 confidential medical information collected via its webpages to a hidden third

24 party – let alone Facebook and Google, which both have a sordid history of

25
     11
          See Joint Letter, FEDERAL TRADE COMMISSION, OFFICE FOR CIVIL RIGHTS
26 & DEPARTMENT OF HEALTH AND HUMAN SERVICES (JULY 20, 2023),
     https://www.ftc.gov/system/files/ftc_gov/pdf/FTC-OCR-Letter-Third-Party-
27 Trackers-07-20-2023.pdf (last visited Sept. 20, 2024).

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                            CLASS ACTION COMPLAINT - 8
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 9 of 78



 1 privacy violations in pursuit of ever-increasing advertising revenue – without

 2 the customers’ consent. Neither Plaintiffs nor any other Class Member signed

 3 a written authorization permitting Defendant to send their Private Information

 4 to Facebook or Google.

 5            25.   The incontrovertible need for data security and transparency is
 6 particularly acute when it comes to the rapidly expanding worlds of telehealth

 7 and diagnostic test kits delivered to consumers’ homes.

 8            26.   Garnering wide-spread adaptation during the COVID-19
 9 pandemic, these self-collection or at-home testing kits form an important part

10 of consumers’ access to healthcare by removing the impediments of having

11 to travel to visit with medical providers – not to mention that these kits allow

12 for quick turnaround at often cheaper price points, in the (supposed) privacy

13 of their own home.

14            27.   Despite these kits testing for extremely sensitive and personal
15 issues like sexual and reproductive health, many of these at-home test kit

16 retailers appear to value the collection and monetization of user data over all

17 else.12 And, the universe of data that these companies collect is extremely

18 vast, as at-home test providers (and the laboratories with which they partner)

19 can collect personal and health data on their customers through several

20 channels, including through an initial online symptom survey, purchase

21 information, customer interactions with provider websites or apps, and test

22 results.13

23
     12
          See, e.g., Top Mental Health & Prayer Apps Fail Spectacularly at Privacy,
24 Security (May 2, 2022), https://foundation.mozilla.org/en/blog/top-mental-
     health-and-prayer-apps-fail-spectacularly-at-privacy-security/ (last visited
25 Sept. 19, 2024).

26   13
     As noted by the FTC, at-home test kit providers should be upfront with
   customers about what data they collect, how it is stored and with whom it is
27 shared. See fn. 11, supra.

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                              CLASS ACTION COMPLAINT - 9
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 10 of 78



 1            28.   Unfortunately, the process of searching for, researching,
 2 purchasing and using these kits is not as confidential a process as the

 3 manufacturers and retailers of these kits make it seem.

 4            29.   An investigation by The Markup and KFF Health News found
 5 that many of the websites by which retailers advertised and sold these kits

 6 used certain tracking technologies to collect and to share confidential and

 7 protected health information with the biggest social media and advertising

 8 platforms, including Facebook and Instagram.14

 9            30.   Rather than attempt to collect more and more confidential and
10 protected health information, telehealth and diagnostic test kit companies

11 should minimize data collection and storage to what is necessary to provide

12 health care services. In practice, few do. Rather, likely cognizant that

13 consumers would not voluntarily provide this sensitive and protected

14 information, these companies resort to doing so covertly by installing

15 invisible tracking technologies on their websites to collect and monetize that

16 data.15

17            31.   Moreover, many companies do not publicly disclose what types
18 of data will be shared — for instance, whether a website visitor’s contact

19 information or aspects of their health data will be transmitted to third parties.

20 By disclosing customer data to third parties for commercial use and providing

21 little transparency into what data is shared and with whom, test providers

22

23   14
      See Danielle Ellis, Need to get Plan B or an HIV test online? Facebook
   may know about it, KFF HEALTH NEWS & THE MARKUP (June 30, 2023),
24 https://kffhealthnews.org/news/article/drugstores-pixel-sensitive-data-social-
   media-companies/ (last visited Sept. 19, 2024).
25
     15
          See fn. 2, supra. Moreover, the policies of many test providers fail to
26 include specific limitations around data retention and deletion, instead relying
     on vague, catchall language.
27

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                             CLASS ACTION COMPLAINT - 10
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 11 of 78



 1 make it more likely that sensitive data could be leaked, used to discriminate,

 2 and/or sold (and re-sold) by data brokers without oversight or consent.16

 3            32.   Defendant breached its statutory and common law obligations to
 4 Plaintiffs and Class Members by, inter alia: (i) failing to adequately review

 5 its marketing programs to ensure the First Response Website was safe and

 6 secure; (ii) failing to remove or disengage technology that was known and

 7 designed to share Users’ Private Information; (iii) failing to obtain the prior

 8 written consent of Plaintiffs and Class Members to disclose their Private

 9 Information to Facebook, Google and/or others before doing so; (iv) failing

10 to take steps to block the transmission of Plaintiffs’ and Class Members’

11 Private Information through Tracking Tools like the Facebook Pixel, Google

12 Analytics, DoubleClick or CAPI; (v) failing to warn Plaintiffs and Class

13 Members that their Private Information was being shared with third parties

14 without express consent and (vi) otherwise failing to design and monitor the

15 First Response Website to maintain the security, confidentiality and integrity

16 of customer Private Information.

17            33.   As a result of Defendant’s conduct, Plaintiffs and Class Members
18 have suffered numerous injuries, including: (i) invasion of privacy; (ii) lack

19 of trust in communicating with health providers online; (iii) emotional

20 distress and heightened concerns related to the release of Private Information

21 to third parties, (iv) loss of benefit of the bargain; (v) diminution of value of

22
     16
          Kaylana Mueller-Hsia & Laura Hecht-Fellala, Evaluating the Privacy of
23 At-Home Covid 19 Tests, The Tests Are Essential for Fighting the Pandemic,
   but Poor Privacy Policy Practices Could Discourage Some People from
24 Using    Them, BRENNAN CENTER FOR JUSTICE (Jan. 19, 2021),
   https://www.brennancenter.org/our-work/analysis-opinion/evaluating-
25 privacy-covid-19-home-
   tests#:~:text=To%20maximize%20privacy%20protections%2C%20test,how
26 ever%2C%20adhere%20to%20these%20principles (last visited Sept. 19,
   2024).
27

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                             CLASS ACTION COMPLAINT - 11
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 12 of 78



 1 their Private Information; (vi) statutory damages; and (vii) continued and

 2 ongoing risk to their Private Information.

 3        34.    Plaintiffs therefore seek, on behalf of themselves and a class of
 4 similarly situated persons, to remedy these harms and therefore assert the

 5 following statutory and common law claims against Defendant: (i) Violation

 6 of Electronic Communications Privacy Act, 18 U.S.C. § 2511(1), et seq.,

 7 Unauthorized Interception, Use and Disclosure; (ii) Violation of California

 8 Invasion of Privacy Act, Cal. Penal Code §§ 630, et seq.; (iii) Invasion of

 9 Privacy; and (iv) Unjust Enrichment.

10                                        PARTIES
11        35.    Plaintiff A.D. is, and at all relevant times was, a citizen of the
12 State of California, residing in Mad River, Trinity County, in the State of

13 California.

14        36.    Plaintiff A.O.S. is, and at all relevant times was, a citizen of the
15 State of California, residing in Lodi, San Joaquin County, in the State of

16 California.

17        37.    Defendant is incorporated in the State of New Jersey, with its
18 principal place of business at 500 Charles Ewing Boulevard, Ewing, NJ

19 08628.

20                           JURISDICTION AND VENUE
21        38.    This Court has subject matter jurisdiction over this civil action
22 pursuant to 28. U.S.C. § 1331. This court also has subject matter jurisdiction

23 pursuant to 28 U.S.C. § 1332(d) because the amount in controversy exceeds

24 the sum of $5,000,000 exclusive of interest, fees and costs, there are more

25 than 100 putative Class Members and at least one Class Member is a citizen

26 of a state different from Defendant.

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                           CLASS ACTION COMPLAINT - 12
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 13 of 78



 1        39.    This Court also has supplemental jurisdiction pursuant to 28
 2 U.S.C. § 1367(a) because all claims alleged herein from part of the same case

 3 or controversy.

 4        40.    This Court has personal jurisdiction over Defendant because
 5 Defendant regularly conducts business in the State of California, and because

 6 Defendant has falsely advertised and sold its First Response products to

 7 consumers in the State of California and in this judicial district.

 8        41.    Personal jurisdiction is also proper because Defendant
 9 committed tortious acts in the State of California and this judicial district and

10 Plaintiffs’ claims arise out of such acts, and/or because Defendant has

11 otherwise made or established contacts in the State of California and in this

12 judicial district sufficient to permit the exercise of personal jurisdiction.

13        42.    Venue is proper in this judicial district pursuant to 28 U.S.C. §
14 1391(b) because a substantial part of the events giving rise to the claims in

15 this action occurred in this judicial district.

16                   COMMON FACTUAL ALLEGATIONS
17     A. Federal Regulators Make Clear that the Use of Tracking
          Technologies to Collect & Divulge Private Information Without
18        Informed Consent is Illegal
19        43.    The surreptitious collection and divulgence of Private
20 Information is an extremely serious data security and privacy issue. Both the

21 FTC and the Office for Civil Rights (“OCR”) of the Department of Health

22 and Human Services have, in recent months, reiterated the importance of and

23 necessity for data security and privacy concerning health information.

24        44.    For instance, the FTC recently published a bulletin entitled
25 Protecting the privacy of health information: A baker’s dozen takeaways from

26 FTC cases, in which it noted that “[h]ealth information is not just about

27 medications, procedures, and diagnoses. Rather, it is anything that conveys

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                           CLASS ACTION COMPLAINT - 13
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 14 of 78



 1 information—or enables an inference—about a consumer’s health. Indeed,

 2 [recent FTC enforcement actions involving] Premom, BetterHelp, GoodRx

 3 and Flo Health make clear that the fact that a consumer is using a particular

 4 health-related app or website—one related to mental health or fertility, for

 5 example—or how they interact with that app (say, turning ‘pregnancy

 6 mode’ on or off) may itself be health information.”17

 7            45.   The FTC is unequivocal in its stance as it informs—in no
 8 uncertain terms—healthcare companies that they should not use tracking

 9 technologies to collect sensitive health information and disclose it to various

10 platforms without informed consent:

11                  Don’t     use    behind-the-scenes   tracking
                    technologies that contradict your privacy
12                  promises or otherwise harm consumers.
13                  In today’s surveillance economy, the consumer is
                    often the product. Consumer data powers the
14                  advertising machine that goes right back to the
                    consumer. But when companies use consumers’
15                  sensitive health data for marketing and advertising
                    purposes, such as by sending that data to
16                  marketing firms via tracking pixels on websites or
                    software development kits on apps, watch out.
17
                    [Recent FTC enforcement actions such as]
18                  BetterHelp, GoodRx, Premom, and Flo make clear
                    that practices like that may run afoul of the FTC
19                  Act if they violate privacy promises or if the
                    company fails to get consumers’ affirmative
20                  express consent for the disclosure of sensitive
                    health information.18
21

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     17
          See Elisa Jillison, Protecting the privacy of health information: A Baker’s
23 dozen takeaways from FTC cases, FTC Business Blog (July 25, 2023)
     (emphasis                  added),               https://www.ftc.gov/business-
24 guidance/blog/2023/07/protecting-privacy-health-information-bakers-dozen-
     takeaways-ftc-cases.
25
     18
          Id. (emphasis added) (further noting that GoodRx & Premom underscore
26 that this conduct may also violate the Health Breach Notification Rule, which
     requires notification to consumers, the FTC and, in some cases, the media, of
27 disclosures of health information without consumers’ authorization.

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                             CLASS ACTION COMPLAINT - 14
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 15 of 78



 1

 2            46.   The federal government is taking these violations of health data
 3 privacy and security seriously, as evidenced by recent high-profile FTC

 4 settlements against several telehealth companies.          For example, the FTC
 5 imposed a $1.5 million penalty on GoodRx last year for violating the FTC

 6 Act by sharing its customers’ sensitive PHI with advertising companies and

 7 platforms, including Facebook, Google and Criteo, and reached a $7.8 million

 8 settlement with the online counseling service BetterHelp, resolving

 9 allegations that the company shared customer health data with Facebook and

10 Snapchat for advertising purposes. Similarly, Easy Healthcare was ordered to

11 pay a $100,000 civil penalty for violating the Health Breach Notification Rule

12 when its ovulation tracking app, Premon, shared health data for advertising

13 purposes.19

14            47.   In July 2023, federal regulators sent a letter to approximately 130
15 healthcare providers warning them about the risk of online tracking

16 technologies resulting in the unauthorized disclosure of Private Information

17 to third parties. The letter highlighted the “risks and concerns about the use

18

19   19
      See How FTC Enforcement Actions Will Impact Telehealth Data Privacy,
   Health      IT     Security,     https://healthitsecurity.com/features/how-ftc-
20 enforcement-actions-will-impact-telehealth-data-privacy (last visited Sept.
   14, 2024); see also Allison Grande, FTC Targets GoodRx In 1st Action Under
21 Health       Breach        Rule,       Law360         (Feb.      1,      2023),
   www.law360.com/articles/1571369/ftc-targets-goodrx-in1st-action-under-
22 health-breach-rule?copied=1 (“The Federal Trade Commission signaled it
   won’t hesitate to wield its full range of enforcement powers when it dinged
23 GoodRx for allegedly sharing sensitive health data with advertisers, teeing up
   a big year for the agency and boosting efforts to regulate data privacy on a
24 larger         scale.”);         https://www.ftc.gov/news-events/news/press-
   releases/2023/07/ftc-gives-final-approval-order-banning-betterhelp-sharing-
25 sensitive-health-data-advertising;                   https://www.ftc.gov/news-
   events/news/press-releases/2023/05/ovulation-tracking-app-premom-will-
26 be-barred-sharing-health-data-advertising-under-proposed-ftc (last visited
   Sept. 14, 2024).
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                             CLASS ACTION COMPLAINT - 15
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 16 of 78



 1 of technologies, such as the Meta/Facebook Pixel and Google Analytics, that

 2 can track a user’s online activities,” and warned about “[i]mpermissible

 3 disclosures of an individual’s personal health information to third parties” that

 4 could “result in a wide range of harms to an individual or others.” According

 5 to the letter, “[s]uch disclosures can reveal sensitive information including

 6 health conditions, diagnoses, medications, medical treatments, frequency of

 7 visits to health care professionals, where an individual seeks medical

 8 treatment, and more.”20

 9            48.   Moreover, the Department of Health and Human Service’s
10 Office for Civil Rights (“OCR”) has made clear, in a recent bulletin entitled

11 Use of Online Tracking Technologies by HIPAA Covered Entities and

12 Business Associates (the “OCR Bulletin”), that the transmission of such

13 protected information violates HIPAA’s Privacy Rule:

14                  Regulated entities are not permitted to use
                    tracking technologies in a manner that would
15                  result in impermissible disclosures of PHI to
                    tracking technology vendors or any other
16                  violations of the HIPAA Rules. For example,
                    disclosures of PHI to tracking technology vendors
17                  for marketing purposes, without individuals’
                    HIPAA-compliant authorizations, would constitute
18                  impermissible disclosures.21
19
     20
           See OCR, Use of Online Tracking Technologies (July 20, 2023),
20 https://www.hhs.gov/sites/default/files/use-online-tracking-technologies.pdf
     (last visited Sept. 20, 2024).
21
     21
      See HHS, Use of Online Tracking Technologies by HIPAA Covered Entities
22 and         Business        Associates,         https://www.hhs.gov/hipaa/for-
   professionals/privacy/guidance/hipaa-online-tracking/index.html (noting that
23 “IIHI collected on a regulated entity’s website or mobile app generally is PHI,
   even if the individual does not have an existing relationship with the regulated
24 entity and even if the IIHI, such as in some circumstances IP address or
   geographic location, does not include specific treatment or billing information
25 like dates and types of health care services.”).

26 This guidance was recently vacated in part by the Federal District Court for
     the Northern District of Texas due to the court finding it in part to be the
27

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                             CLASS ACTION COMPLAINT - 16
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 17 of 78



 1            49.   The OCR Bulletin discusses the harms that disclosure may cause
 2 persons:
                    An impermissible disclosure of an individual’s PHI
 3                  not only violates the Privacy Rule but also may
                    result in a wide range of additional harms to the
 4                  individual or others. For example, an impermissible
                    disclosure of PHI may result in identity theft,
 5                  financial loss, discrimination, stigma, mental
                    anguish, or other serious negative consequences
 6                  to the reputation, health, or physical safety of the
                    individual or to others identified in the
 7                  individual’s PHI. Such disclosures can reveal
                    incredibly sensitive information about an
 8                  individual, including diagnoses, frequency of visits
                    to a therapist or other health care professionals,
 9                  and where an individual seeks medical treatment.
                    While it has always been true that regulated entities
10                  may not impermissibly disclose PHI to tracking
                    technology vendors, because of the proliferation of
11                  tracking technologies collecting sensitive
                    information, now more than ever, it is critical for
12                  regulated entities to ensure that they disclose PHI
                    only as expressly permitted or required by the
13                  HIPAA Privacy Rule.22
14            50.   Investigative journalists have published several reports detailing
15 the seemingly ubiquitous use of tracking technologies on hospitals’, health

16
     product of improper rulemaking and it is cited for reference only until the
17 OCR updates its guidance, should it do so in the future. See American Hosp.
     Ass’n. v. Becerra, No. 4:23-cv-01110-P, ECF No. 67 (S.D. Tex., Jun. 20,
18 2024). Notably, the court’s order found only that the OCR’s guidance
     regarding covered entities disclosing to third parties users’ IP addresses while
19 users navigated unauthenticated public webpages (“UPWs”) was improper
     rulemaking. The Order in no way affects or undermines the OCR’s guidance
20 regarding covered entities disclosing personal identifiers, such as Google or
     Facebook identifiers, to third parties while patients were making
21 appointments for particular conditions, paying medical bills or logging into
     (or using) a patient portal. See id. at 3-4, 31, n. 8 (vacating the OCR guidance
22 with respect to the “Proscribed Combination” defined as “circumstances
     where an online technology connects (1) an individual’s IP address with (2) a
23 visit to a UPW addressing specific health conditions or healthcare providers”
     but stating that “[s]uch vacatur is not intended to, and should not be construed
24 as, limiting the legal operability of other guidance in the germane HHS
     document.”). Furthermore, the FTC bulletin on the same topics remains
25 untouched, as do the FTC’s enforcement actions against healthcare providers
     for committing the same actions alleged herein).
26
     22
          Id (emphasis added).
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                             CLASS ACTION COMPLAINT - 17
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 18 of 78



 1 care providers’ and telehealth companies’ digital properties to monetize their

 2 Users’ Private Information.

 3            51.     For instance, in the aptly titled report “Out of Control”: Dozens
 4 of Telehealth Startups Sent Sensitive Health Information to Big Tech

 5 Companies, a joint investigation of 50 direct-to-consumer telehealth

 6 companies performed by Stat and The Markup reported that telehealth

 7 companies or virtual care websites were providing sensitive medical

 8 information to the world’s largest advertising platforms.23

 9            52.     This report also found that many telehealth sites had at least one
10 tracker—from Meta, Google, TikTok, Bing, Snap, Twitter, LinkedIn and/or

11 Pinterest—that collected patients’ answers to medical intake questions.24

12         B. Underlying Web Technology
13            53.     To understand Defendant’s unlawful data-sharing practices, it is
14 important first to understand basic web design and tracking tools.

15            54.     Devices (such as a computer, tablet, or smart phone) accesses
16 web content through a web browser (e.g., Google’s Chrome browser,

17 Mozilla’s Firefox browser, Apple’s Safari browser, and Microsoft’s Edge

18 browser).

19            55.     Every website is hosted by a computer “server” that holds the
20 website’s contents, and through which the entity in charge of the website

21
     23
           Todd Feathers, Katie Palmer (STAT) & Simon Fondrie-Teitler, “Out Of
22 Control”: Dozens of Telehealth Startups Sent Sensitive Health Information to
     Big Tech Companies: An investigation by The Markup and STAT found 49
23 out of 50 telehealth websites sharing health data via Big Tech’s tracking
     tools,     The     Markup     (Dec.   13,   2022),    https://themarkup.org/pixel-
24 hunt/2022/12/13/out-of-control-dozens-of-telehealth-startups-sent-sensitive-
     health-information-to-big-tech-companies.
25
     24
          See id (noting that “[t]rackers on 25 sites, including those run by industry
26 leaders Hims & Hers, Ro, and Thirty Madison, told at least one big tech
     platform that the user had added an item like a prescription medication to their
27 cart, or checked out with a subscription for a treatment plan”).

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                               CLASS ACTION COMPLAINT - 18
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 19 of 78



 1 exchanges communications with an internet users’ client devices via their

 2 web browsers.

 3            56.   Web communications consist of HTTP or HTTPS Requests, and
 4 HTTP or HTTPS Responses, and any given browsing session may consist of

 5 thousands of individual HTTP Requests and HTTP Responses, along with

 6 corresponding cookies:

 7               Universal Resource Locator (“URL”): a web address.
 8               HTTP Request: an electronic communication sent from the
 9                  client device’s browser to the website’s server. GET Requests
10                  are one of the most common types of HTTP Requests. In addition
11                  to specifying a particular URL, GET Requests can also send data
12                  to the host server embedded inside the URL, and can include
13                  cookies.
14               Cookies: a small text file that can be used to store information
15                  on the client device which can later be communicated to a server
16                  or servers. Cookies are sent with HTTP Requests from client
17                  devices to the host server. Some cookies are “third-party
18                  cookies,” which means they can store and communicate data
19                  when visiting one website to an entirely different website.
20               HTTP Response: an electronic communication that is sent as a
21                  reply to the client device’s web browser from the host server in
22                  response to an HTTP Request. HTTP Responses may consist of
23                  a web page, another kind of file, text information, or error codes,
24                  among other data.25
25

26
     25
          One browsing session may consist of hundreds or thousands of individual
27 HTTP Requests and HTTP Responses.

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                               CLASS ACTION COMPLAINT - 19
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 20 of 78



 1        57.   A user’s HTTP Request asks the Defendant’s Website to retrieve
 2 certain information (such as “Find a Doctor” page). The HTTP Response

 3 sends the requested information in the form of “Markup.” This is the

 4 foundation for the pages, images, words, buttons, and other features that

 5 appear on the user’s screen as they navigate Defendant’s Website.

 6        58.   Every website is comprised of Markup and “Source code.”
 7 Source code is simply a set of instructions that commands the website visitor’s

 8 browser to take certain actions when the web page first loads or when a

 9 specified event triggers the code. Source code is essentially the back of the

10 website, and the user does not see what happens in the source code.

11        59.   Source code may also command a web browser to send data
12 transmissions to third parties in the form of HTTP Requests quietly executed

13 in the background without notifying the web browser’s user. Defendant’s

14 implementation of the Tracking Tools is source code that does just that. The

15 Tracking Tools act much like a traditional wiretap. When users and/or

16 customers visit Defendant’s Website via an HTTP Request to First Response

17 server, the server sends an HTTP Response including the Markup that

18 displays the webpage visible to the user and Source Code including the

19 Tracking Tools. Thus, Defendant are in essence handing users a tapped phone,

20 and once the webpage is loaded into the user’s browser, the software-based

21 wiretap is quietly waiting for private communications on the Website to

22 trigger the tap, which intercepts those communications intended only for

23 Defendant and transmits those communications to third parties, including

24 Facebook and Google.

25        60.   Third parties, like Facebook and Google, place third-party
26 cookies in the web browsers of users logged into their services. These cookies

27 uniquely identify the user and are sent with each intercepted communication

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                          CLASS ACTION COMPLAINT - 20
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 21 of 78



 1 to ensure the third-party can uniquely identify the customer associated with

 2 the Private Information intercepted.

 3            61.   With substantial work and technical know-how, internet users
 4 can sometimes circumvent this browser-based wiretap technology. This is

 5 why third parties bent on gathering Private Information, like Facebook,

 6 implement workarounds that savvy users cannot evade.               Facebook’s
 7 workaround, for example, is CAPI. CAPI is an effective workaround because

 8 it transmits information from Defendant’s own servers, and does not rely on

 9 the user’s web browser. CAPI “is designed to create a direct connection

10 between [Website hosts’] marketing data and [Facebook].” Thus, the

11 communications between customers and Defendant, which are necessary to

12 use Defendant’s Website, are received by Defendant and stored on its server

13 before CAPI collects and sends the Private Information contained in those

14 communications directly from Defendant to Facebook. Client devices do not

15 have access to host servers and thus cannot prevent (or even detect) this

16 transmission.

17            62.   While there is no way to confirm with certainty that a Website
18 host like First Response has implemented workarounds like CAPI without

19 access to the host server, companies like Facebook instruct Defendant to

20 “[u]se the Conversions API in addition to the [] Pixel, and share the same

21 events using both tools,” because such a “redundant event setup” allows

22 Defendant “to share website events [with Facebook] that the pixel may

23 lose.”26 Thus, it is reasonable to infer that Facebook’s customers who

24 implement the Facebook Pixel in accordance with Facebook’s documentation

25 will also implement the CAPI workaround.

26
     26
       https://www.facebook.com/business/help/308855623839366?id=81885903
27 2317965 (last visited Sept. 20, 2024).

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                             CLASS ACTION COMPLAINT - 21
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 22 of 78



 1        63.    The third parties to whom a website transmits data through pixels
 2 and associated workarounds do not provide any substantive Website content

 3 relating to the user’s communications. Instead, these third parties are typically

 4 procured to track user data and communications for marketing purposes of

 5 the website owner (i.e., to bolster profits).

 6        64.    Thus, without any knowledge, authorization, or action by a user,
 7 a website owner like First Response can use its source code to commandeer

 8 the user’s computing device, causing it to contemporaneously and invisibly

 9 re-direct the user’s communications to third parties.

10        65.    In this case, Defendant employed the Tracking Tools (and CAPI)
11 to intercept, duplicate, and re-direct Plaintiffs’ and Class Members’ Private

12 Information to Facebook and Google.

13        66.    By contrast, the Markup is the façade of the Website and what
14 the user sees.

15        67.    As an example, a customer’s HTTP Request seeks specific
16 information from the Defendant’s Website (e.g., “Pregnancy Tests” page),

17 and the HTTP Response provides the requested information in the form of

18 “Markup,” forming the webpage’s content and features.

19        68.    Therefore,         when           a        customer           visits
20 https://www.firstresponse.com/en/product-listings        and      selects     the
21 “Pregnancy Tests” tab, the customer’s browser automatically sends an HTTP

22 Request to Defendant’s web server. Defendant’s web server automatically

23 returns an HTTP Response, which loads the Markup for that webpage. The

24 user only sees the Markup, not Defendant’s Source Code or underlying HTTP

25 Requests and Responses:

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                           CLASS ACTION COMPLAINT - 22
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 23 of 78



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 9 Figure 1. Screenshot taken from the user’s web browser using Google
     Developer Tools upon visiting https://www.firstresponse.com/en/product-
10 listings#pregnancy

11            69.   The image above displays the Markup of Defendant’s Webpage
12 (on the left side). Behind the scenes and in the backdoor of the webpage,

13 tracking technologies like the Facebook Pixel and the Google Analytics

14 tracking tools are embedded in the Source Code (see, e.g., Pixel transmissions

15 on the right side of the Figure 1), automatically transmitting what the

16 customer does on the webpage, and effectively opening a hidden spying

17 window into the customer’s browser.27

18         C. Tracking Tools
19            70.   Third parties such as Facebook and Google offer Tracking Tools
20 as free software that advertisers can integrate into their webpages, mobile

21 applications, and servers, thereby enabling the interception and collection of

22 user communications and activity on those platforms. The Tracking Tools are

23

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     27
          When used in the context of a screen or visual display, a “pixel” is the
25 smallest unit in such a digital display. An image or video on a device’s screen
     can be made up of millions of individual pixels. For example, the Facebook
26 Pixel is a tiny image file that is so small as to be invisible to website users. It
     is purposefully designed and camouflaged in this manner so that website users
27 remain unaware of it.

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                             CLASS ACTION COMPLAINT - 23
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 24 of 78



 1 used to gather, identify, target, and market products and services to

 2 individuals.

 3            71.   In general, Tracking Tools are automatically configured to
 4 capture “Standard Events” such as when a user visits a particular webpage,

 5 that webpage’s URL and metadata, button clicks, etc. Advertisers, such as

 6 Defendant, can track other user actions and communications and can create

 7 their own tracking parameters by customizing the software on their website.

 8            72.   When a user accesses a webpage that is hosting Tracking Tools,
 9 the user’s communications with the host webpage are instantaneously and

10 surreptitiously duplicated and sent to the third party. For example, the

11 Facebook Pixel on Defendant’s Website causes the user’s web browser to

12 instantaneously duplicate the contents of the communication with the Website

13 and send the duplicate from the user’s browser directly to Facebook’s server.

14            73.   Google Analytics tracking tool is marginally different than the
15 Facebook Pixel, but essentially accomplishes the same goal: tracking what a

16 user communicates to Defendant’s website.28

17            74.   Notably, transmissions only occur on webpages that contain
18 Tracking Tools. Thus, Plaintiffs’ and Class Member’s Private Information

19 would not have been disclosed to Facebook or Google via this technology but

20 for Defendant’s decisions to install the Tracking Tools on the First Response

21 Website.

22            75.   Sometimes a particularly tech-savvy user attempts to circumvent
23 browser-based wiretap technology, so a website operator can also transmit

24 data directly to Facebook using first-party cookies (CAPI server-to-server

25

26   28
        Comparing Google Analytics vs Facebook Pixel, BOLTIC,
   https://www.boltic.io/blog/google-analytics-vs-facebook-pixel (last visited
27 Sept. 20, 2024).

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                             CLASS ACTION COMPLAINT - 24
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 25 of 78



 1 transmission). Users cannot detect or prevent transmissions through first-

 2 party cookies.

 3            76.   CAPI is another Facebook tool that functions as a redundant
 4 measure to circumvent any ad blockers or other denials of consent by the

 5 website user by transmitting information directly from Defendant’s servers to

 6 Facebook’s servers.29, 30 Facebook markets CAPI as a “better measure [of] ad

 7 performance and attribution across your customer’s full journey, from

 8 discovery to conversion. This helps you better understand how digital

 9 advertising impacts both online and offline results.”31

10            77.   The third parties to whom a website transmits data through
11 Tracking Tools and associated workarounds (CAPI) do not provide any

12 substantive Website content relating to the user’s communications. Instead,

13 these third parties are typically procured to track user data and

14 communications for marketing purposes of the website owner (i.e., to bolster

15 profits).

16            78.   Thus, without any knowledge, authorization, or action by a user,
17 website owners like Defendant can use their source code to commandeer the

18 user’s computing device, causing the device to contemporaneously and

19 invisibly re-direct the users’ communications to third parties.

20

21   29
    What is the Facebook Conversions API and how to use it, Realbot (last
   updated May 20, 2022), https://revealbot.com/blog/facebook-conversions-
22 api/ (last visited Sept. 20, 2024).

23   30
     “Server events are linked to a dataset ID and are processed like events sent
   via the Meta Pixel…. This means that server events may be used in
24 measurement, reporting, or optimization in a similar way as other connection
   channels.”       See        https://developers.facebook.com/docs/marketing-
25 api/conversions-api (last visited Sept. 20, 2024).

26   31
     About    Conversions       API,      Meta Business  Help    Center,
   https://www.facebook.com/business/help/2041148702652965?id=81885903
27 2317965 (last visited Sept. 20, 2024).

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                             CLASS ACTION COMPLAINT - 25
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 26 of 78



      D. Defendant Disclosed Plaintiffs’ and Class Members’ Private
 1       Information to Facebook and Google Using Tracking Tools
 2        79.   In this case, Defendant employed Tracking Tools, including the
 3 Facebook Pixel and Conversions API, as well as the Google Analytics tool,

 4 to intercept, duplicate, and re-direct Plaintiffs’ and Class Members’ Private

 5 Information to Facebook and Google.

 6        80.   Defendant’s Source Code manipulates the user’s browser by
 7 secretly instructing it to duplicate the user’s communications (HTTP

 8 Requests) with Defendant and to send those communications to Facebook and

 9 Google. These transmissions occur contemporaneously, invisibly, and

10 without the user’s knowledge.

11        81.   Thus, without its customers’ consent, Defendant have effectively
12 used their source code to commandeer and “bug” or “tap” its customers’

13 computing devices, allowing Facebook, Google, and other third parties to

14 listen in on all of their communications with Defendant and thereby intercept

15 those communications, including Private Information.

16        82.   The Tracking Tools allow Defendant to optimize the delivery of
17 ads, measure cross-device conversions, create custom audiences, and

18 decrease advertising and marketing costs. However, Defendant’s Website

19 does not rely on the Tracking Tools in order to function.

20        83.   While seeking and using Defendant’s services and products,
21 Plaintiffs and Class Members communicated their Private Information to

22 Defendant via the First Response Website.

23        84.   Plaintiffs and Class Members were not aware that their Private
24 Information would be shared with third parties as it was communicated to

25 Defendant because, amongst other things, Defendant did not disclose this fact.

26        85.   Plaintiffs and Class Members never consented, agreed,
27 authorized, or otherwise permitted Defendant to disclose their Private

28
                          CLASS ACTION COMPLAINT - 26
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 27 of 78



 1 Information to third parties, nor did they intend for anyone other than

 2 Defendant to be a party to their communications (many of them highly

 3 sensitive and confidential) with Defendant.

 4            86.   Defendant’s Tracking Tools sent non-public Private Information
 5 to third parties like Facebook and Google, including but not limited to

 6 Plaintiffs’ and Class Members’: (1) sensitive health conditions; (2) desired

 7 medical services or products; (3) details of their activities on a specific First

 8 Response product’s page and (4) the fact that they were proceeding to

 9 purchase a particular First Response product, including the specific retailer

10 they chose.

11            87.   Importantly, the Private Information Defendant’s Tracking Tools
12 sent to third parties included personally identifying information that allowed

13 those third parties to connect the Private Information to a specific user.

14 Information sent to Facebook was sent alongside the Plaintiffs’ and Class

15 Members’ Facebook ID (c_user cookie or “FID”), thereby allowing

16 individual customers’ communications with Defendant, and the Private

17 Information contained in those communications, to be linked to their unique

18 Facebook accounts and therefore their identity.32

19            88.   A user’s FID is linked to their Facebook profile, which generally
20 contains a wide range of demographic and other information about the user,

21 including location, pictures, personal interests, work history, relationship

22 status, and other details. Because the user’s Facebook ID uniquely identifies

23 an individual’s Facebook account, Facebook—or any ordinary person—can

24
     32
          Defendant’s Website tracks and transmits data via first-party and third-
25 party cookies. The c_user cookie or FID is a type of third-party cookie
     assigned to each person who has a Facebook account, and it is comprised by
26 a unique and persistent set of numbers that can be easily used to look up that
     person’s Facebook account by simply typing the numbers after
27 www.facebook.com/ and hitting “Enter.”

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                             CLASS ACTION COMPLAINT - 27
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 28 of 78



 1 easily use the Facebook ID to locate, access, and view the user’s

 2 corresponding Facebook profile quickly and easily.

 3            89.   Similar to Facebook, the Private Information Defendant’s
 4 Tracking Tools sent to third parties included personally identifying

 5 information that allowed those third parties to connect the Private Information

 6 to a specific customer. Information sent to Google was sent alongside the

 7 Plaintiffs’ and Class Members’ unique identifier (such as “DSID” and/or

 8 “IDE” cookies from DoubleClick), thereby allowing individual customers’

 9 communications with Defendant, and the Private Information contained in

10 those communications, to be linked to their unique Google accounts and

11 therefore their identity.33

12            90.   Google logs a user’s browsing activities on non-Google websites
13 and uses this data for serving personalized ads.

14            91.   Defendant deprived Plaintiffs and Class Members of their
15 privacy rights when they: (1) implemented Tracking Tools that surreptitiously

16 tracked, recorded, and disclosed Plaintiffs’ and other online customers’

17 confidential      communications and Private Information; (2) disclosed
18 customers’ protected information to unauthorized third parties; and (3)

19 undertook this pattern of conduct without notifying Plaintiffs or Class

20 Members and without obtaining their express written consent.

21            92.   By installing and implementing both Facebook tools and Google
22 Analytics, Defendant caused Plaintiffs’ and Class Member’s communications

23 to be intercepted by and/or disclosed to Facebook and Google and for those

24 communications to be personally identifiable.

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26   33
      See Brown v. Google LLC, 2023 WL 5029899, at fn. 2, supra, note 3
   (quoting Google employee deposition testimony explaining how Google
27 tracks user data).

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                             CLASS ACTION COMPLAINT - 28
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 29 of 78



 1            93.   As explained below, these unlawful transmissions are initiated
 2 by Defendant’s source code concurrent with communications made via

 3 certain webpages.

 4     E. Defendant’s Tracking Tools Disseminate Customer Information
          Via the First Response Website
 5
              94.   An example illustrates the point. If a customer uses the Website
 6
     to find a First Response product, Defendant’s Website directs them to
 7
     communicate Private Information, including the particular type of testing kit
 8
     the customer is seeking (pregnancy, ovulation, fertility, and/or menopause).
 9
     Unbeknownst to the user, each and every communication is sent to third
10
     parties, namely Facebook and Google, via Defendant’s Tracking Tools,
11
     including the type of test kit the customer is interested in purchasing and
12
     whether they proceed to click the “Buy now” button for each specific First
13
     Response product.
14
              95.   In the example below, the user navigated to the “Pregnancy
15
     Tests” page in Defendant’s Website and chose the “Rapid Result Pregnancy
16
     Test”:
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                             CLASS ACTION COMPLAINT - 29
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 30 of 78



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15 Figures 2-3. Screenshots taken from the user’s web browser using Google
     Developer Tools upon visiting https://www.firstresponse.com/en/product-
16 listings/rapid-result-pregnancy-test

17        96.   Unbeknownst to ordinary users, this webpage—which is
18 undoubtedly used to communicate Private Information for the purpose of

19 seeking medical treatment—contains Defendant’s Tracking Tools. The right

20 side of the image shows the “behind the scenes” portion of the website that is

21 invisible to ordinary users. Importantly, each entry in the column represents

22 just one instance in which Defendant’s Tracking Tools sent this user’s

23 information to Facebook.

24        97.   The first line of Source code text, “id: 245917457166768” refers
25 to Defendant’s Pixel ID and confirms that Defendant has downloaded the

26 Facebook Pixel into their Source Code for this webpage.

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                          CLASS ACTION COMPLAINT - 30
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 31 of 78



 1        98.   The second line of text, “ev: PageView,” identifies and
 2 categorizes which actions the user took on the webpage (“ev=” is an

 3 abbreviation for event, and “PageView” is the type of event). Thus, this

 4 identifies the user as viewing the page with instructions on how to use the

 5 First Response Rapid Result Pregnancy Test.

 6        99.   The additional lines of highlighted text show Defendant have
 7 disclosed to Facebook that the user is interested in a particular product for

 8 detecting pregnancy.

 9        100. Finally, the last line of Source code text in the image above and
10 the second line of text in the image below (“GET”) demonstrate that

11 Defendant’s Pixel sent the user’s communications, and the Private

12 Information contained therein. As described herein and demonstrated below,

13 this data is sent alongside the user’s Facebook ID (c_user ID) and other

14 unique personal identifiers, thereby allowing the user’s communications and

15 actions on the website to be linked to their specific Facebook profile.

16        101. To make matters worse, Defendant’s Facebook Pixel also shared
17 its’ customers purchasing activities with Facebook.

18        102. The Website offers customers an option to buy First Response
19 products online:

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                          CLASS ACTION COMPLAINT - 31
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 32 of 78



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   Figures 4-5. Screenshots taken from the user’s web browser using Google
13 Developer       Tools       depicting    purchasing         options      on
     https://www.firstresponse.com/en/product-listings/rapid-result-pregnancy-
14 test webpage

15        103. If, following the examples above, the user clicked on the “Buy
16 Online” button on the product’s webpage, Defendant transmitted that

17 information to Facebook as well, along with the customer’s unique personal

18 identifiers.

19        104. Defendant further disclosed the online retailer from which the
20 customer purchased a First Response product, via a ‘SubscribedButtonClick’

21 event that Defendant configured its Meta Pixel to capture and send to

22 Facebook:

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                         CLASS ACTION COMPLAINT - 32
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 33 of 78



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     Figure 6. Screenshot of the details of the user’s purchasing activity on the
12 First Response Webpage for the Rapid Result Pregnancy Test disclosing that
     the consumer proceeded to purchase the test online at Walmart, along with
13 the user’s unique Facebook id contained in the c_user field under “Cookie”
     and other unique personal identifiers.34
14
              105. In each of the examples above, the user’s website activity and the
15
     contents of the user’s communications are sent to Facebook alongside their
16
     personally identifiable information. Several different methods allow
17
     marketers and third parties to identify individual website users, but the
18
     examples above demonstrate what happens when the website user is logged
19
     into Facebook on their web browser or device. When this happens, the website
20
     user’s identity is revealed via third-party cookies that work in conjunction
21
     with the Pixel. For example, the Pixel transmits the user’s c_user cookie,
22
     which contains that user’s unencrypted Facebook ID, and allows Facebook to
23

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     34
          The user’s Facebook ID is represented as the c_user ID highlight in the
26 image below, and Plaintiff has redacted the corresponding string of numbers
     to preserve the user’s anonymity.
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                             CLASS ACTION COMPLAINT - 33
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 34 of 78



 1 link the user’s online communications and interactions to their individual

 2 Facebook profile.

 3            106. Facebook receives at least six cookies when Defendant’s
 4 Website transmits information via the Pixel, including the c_user, datr, fr and

 5 _fbp cookies.35

 6            107. The “datr” cookie contains a unique alphanumeric code and
 7 identifies the specific web browser from which the user is sending the

 8 communication. It is an identifier that is unique to the user’s web browser and

 9 is therefore a means of identification for Meta. Meta keeps a record of every

10 datr cookie identifier associated with each of its users.

11            108. The fr cookie, a unique combination of the c_user and datr
12 cookies, contains an encrypted Facebook ID and browser identifier.36

13 Facebook, at a minimum, uses the fr cookie to identify users, and this

14 particular cookie can stay on a user’s website browser for up to 90 days after

15 the user has logged out of Facebook.37

16            109. The datr and fr cookies are commonly referred to as third-party
17 cookies because they were “created by a website with a domain name other

18 than the one the user is currently visiting”—i.e., Facebook. Although

19 Facebook created these cookies, Defendant are ultimately responsible for the

20 manner in which individual website users were identified via these cookies,

21 and Facebook would not have received this data but for Defendant’s

22 implementation and use of the Pixel throughout the First Response Website.

23
     35
          See supra, Figures 2-3 and 6.
24
     36
       Data Protection Commissioner, Facebook Ireland Ltd: Report of Re-Audit,
25 p.        33        (Sept.    21,       2012),        http://www.europe-v-
     facebook.org/ODPC_Review.pdf (last visited Sept. 20, 2024).
26
     37
                 Cookies        &         other       storage        technologies,
27 https://www.facebook.com/policy/cookies/ (last visited Sept. 20, 2024).

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                             CLASS ACTION COMPLAINT - 34
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 35 of 78



 1              110. Defendant also revealed the Website visitors’ identities via first-
 2 party cookies such as the _fbp cookie that Facebook uses to identify a

 3 particular browser and a user, Figure 7:38

 4

 5

 6              111. The fbp cookie is a Facebook identifier that is set by Facebook
 7 source code and associated with Defendant’s use of the Facebook Meta Pixel

 8 program. The fbp cookie emanates from Defendant’s Website as a putative

 9 first party cookie, but is transmitted to Facebook through cookie synching

10 technology that hacks around the same-origin policy. Therefore, the _fbp

11 cookie is transmitted to Facebook even when the user’s browser is configured

12 to block third-party tracking cookies.

13              112. Google Analytics also uses “first-party” cookies like _ga and
14 _gid (unique to each specific website) to track users’ activities on non-Google

15 websites.

16              113. The __ga and _gid cookies communicate similar information to
17 Google similarly to the way that Facebook’s _fbp cookie operates.

18              114. The Facebook Pixel uses both first- and third-party cookies to
19 link website visitors’ communications and online activity with their

20 corresponding Facebook profiles, and, because the Pixel is automatically

21 programmed to transmit data via both first-party and third-party cookies,

22 customers’ information and identities are revealed to Facebook even when

23 they have disabled third-party cookies within their web browsers.

24              115. Upon information and belief, Google cross-references third-
25 party cookie data, browser fingerprints and other demographic details to

26

27   38
          Id.
28
                                CLASS ACTION COMPLAINT - 35
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 36 of 78



 1 match up all the individual first-party cookies to a single person for tracking

 2 purposes.

 3        116. At present, the full breadth of Defendant’s tracking and data
 4 sharing practices is unclear, but other evidence suggests Defendant has been

 5 using additional Tracking Tools to transmit its users’ Private Information to

 6 additional third parties. For example, Plaintiffs’ counsels’ investigation

 7 revealed that Defendant was also sending its customers’ protected health

 8 information to Google via Google tracking tools including Google Analytics

 9 and Google Tag Manager.

10        117. Google Tracking Tools installed on the First Response Website
11 appear to collect the same types and categories of sensitive Private

12 Information from Defendant’s customers as the Facebook Pixel and, in some

13 instances, even more data.

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                          CLASS ACTION COMPLAINT - 36
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 37 of 78



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     Figures 8-9. Screenshots taken from the user’s web browser using Google
 5 Developer Tools demonstrating data captured by Google tracking codes
     when a user clicks the ‘How To Use’ button on https://www.firstresponse.com
 6 /en/product-listings/test-and-confirm-pregnancy-test#HowToUse webpage

 7         118. Similarly to the Meta Pixel, Google Analytics shares the name of
 8 the First Response testing product a customer is reviewing, whether they are

 9 looking up instructions on its use, and the fact that they are attempting to

10 purchase the product in question:

11

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      Figure 10. Screenshots taken from the user’s web browser using Google
15    Developer Tools demonstrating data captured by Google tracking codes
      when      a    user    clicks    the   ‘Buy      Online’     button    on
16    https://www.firstresponse.com/en/product-listings/test-and-confirm-pregna
      ancy-test#HowToUse webpage
17
           119. As described supra, this information is shared with Google along
18
     with the DSID, IDE, __ga and _gid cookies that Google uses to identify
19
     unique users, build their profiles and use that data for targeted advertising.
20
           120. Defendant does not disclose that the Pixel, Google trackers, first-
21
     party cookies from third parties like Facebook and/or Google, or any other
22
     Tracking Tools embedded in the Website’s source code track, record, and
23
     transmit Plaintiffs’ and Class Members’ Private Information to Facebook and
24
     Google for targeted advertising. Moreover, Defendant never received consent
25
     or written authorization to disclose Plaintiffs’ and Class Members’ private
26
     communications to Facebook or Google for marketing.
27

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                            CLASS ACTION COMPLAINT - 37
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 38 of 78



 1

 2         F. Facebook’s Platform & its Business Tools
 3            121. Facebook operates the world’s largest social media company and
 4 generated $117 billion in revenue in 2021, roughly 97% of which was derived

 5 from selling advertising space.39

 6            122. In conjunction with its advertising business, Facebook
 7 encourages and promotes entities and website owners, such as Defendant, to

 8 utilize its “Business Tools” to gather, identify, target and market products and

 9 services to individuals.

10            123. Facebook’s Business Tools, including the Pixels, are bits of code
11 that advertisers can integrate into their webpages, mobile applications, and

12 servers, thereby enabling the interception and collection of user activity on

13 those platforms.

14            124. The Business Tools are automatically configured to capture
15 “Standard Events” such as when a user visits a particular webpage, that

16 webpage’s Universal Resource Locator (“URL”), metadata, button clicks, and

17 other user interactions with a webpage.40

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     39
     INVESTOR.FB.COM, META REPORTS FOURTH QUARTER AND FULL YEAR 2021
21 RESULTS,                  https://investor.fb.com/investor-news/press-release-
   details/2022/Meta-Reports-Fourth-Quarter-and-Full-Year-2021-
22 Results/default.aspx (last visited Sept. 19, 2024).

23   40
     Specifications       for      Facebook     Pixel     Standard      Events,
   https://www.facebook.com/business/help/402791146561655?id=120537668
24 2832142 (last visited Sept. 19, 2024); see META PIXEL, GUIDES, ADVANCED,
   https://developers.facebook.com/docs/meta-pixel/advanced (last visited Sept.
25 19, 2024); see also BEST PRACTICES FOR META PIXEL SETUP,
   https://www.facebook.com/business/help/218844828315224?id=120537668
26 2832142 (last visited Sept. 19, 2024); META MARKETING API, APP EVENTS
   API,       https://developers.facebook.com/docs/marketing-api/app-event-api/
27 (last visited Sept. 19, 2024).

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                             CLASS ACTION COMPLAINT - 38
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 39 of 78



 1            125. Advertisers, such as Defendant, can track other user actions and
 2 can create their own tracking parameters by building a “custom event.”41

 3            126. One such Business Tool is the tracking Meta Pixel which “tracks
 4 the people and type of actions they take.”42

 5            127. When a user accesses a webpage that is hosting the Pixels, their
 6 communications         with    the   host    webpage   are   instantaneously   and
 7 surreptitiously duplicated and sent to Facebook’s servers—traveling directly

 8 from the user’s browser to Facebook’s server.

 9            128. This second, contemporaneous, and secret transmission contains
10 the original GET request sent to the host website, along with additional data

11 that the Pixels are configured to collect. This transmission is initiated by

12 Facebook code and concurrent with the communications with the host

13 website. Two sets of code are thus automatically run as part of the browser’s

14 attempt to load and read Defendant’s Website—Defendant’s own code, and

15 Facebook’s embedded code.

16            129. Accordingly, during the same transmissions, the Website
17 routinely provides Facebook with its customers’ Facebook IDs, IP addresses,

18 and/or device IDs and the other information they input into Defendant’s

19 Website, including not only their medical searches, treatment requests, and

20 the webpages they view, but also their name, email address, and phone

21 number.

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     41
              ABOUT      STANDARD         AND      CUSTOM       WEBSITE      EVENTS,
24 https://www.facebook.com/business/help/964258670337005?id=120537668
     2832142;      see   also     META MARKETING API,           APP EVENTS API,
25 https://developers.facebook.com/docs/marketing-api/app-event-api/       (last
     visited Sept. 19, 2024).
26
     42
          RETARGETING, https://www.facebook.com/business/goals/retargeting (last
27 visited Sept. 19, 2024).

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                                CLASS ACTION COMPLAINT - 39
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 40 of 78



 1            130. This is precisely the type of identifying information that HIPAA
 2 requires healthcare providers to de-anonymize to protect the privacy of

 3 customers.43 Plaintiffs’ and Class Members’ identities can be easily

 4 determined based on the Facebook ID, IP address and/or reverse lookup from

 5 the collection of other identifying information that was improperly disclosed.

 6            131. After intercepting and collecting this information, Facebook
 7 processes it, analyzes it, and assimilates it into datasets like Core Audiences

 8 and Custom Audiences. If the website visitor is also a Facebook user, the

 9 information collected via the Facebook pixel is associated with the user’s

10 Facebook ID that identifies their name and Facebook profile, i.e., their real-

11 world identity.

12            132. A user’s FID is linked to their Facebook profile, which generally
13 contains a wide range of demographic and other information about the user,

14 including pictures, personal interests, work history, relationship status, and

15 other details. Because the user’s Facebook ID uniquely identifies an

16 individual’s Facebook account, Facebook—or any ordinary person—can

17 easily use the Facebook Profile ID to quickly and easily locate, access, and

18 view the user’s corresponding Facebook profile.          To find the Facebook
19 account associated with a c_user cookie, one simply needs to type

20 www.facebook.com/ followed by the c_user ID.

21            133. This disclosed PHI and PII allows Facebook to know that a
22 specific customer is seeking confidential medical care and the type of medical

23 care being sought (in the case of Defendant, purchasing sensitive healthcare

24

25   43
      Guidance Regarding Methods for De-identification of Protected Health
   Information in Accordance with the Health Insurance Portability and
26 Accountability Act (HIPAA) Privacy Rule, https://www.hhs.gov/hipaa/for-
   professionals/privacy/special-topics/de-identification/index.html (last visited
27 Sept. 19, 2024).

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                             CLASS ACTION COMPLAINT - 40
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 41 of 78



 1 products including pregnancy, fertility, and menopause testing kits to

 2 diagnose and/or treat highly sensitive and private conditions), and Facebook

 3 then sells that information to marketers who will online target Plaintiffs and

 4 Class Members.

 5            134. In fact, in an action pending against Facebook related to use of
 6 its Meta Pixel on a healthcare provider’s website, Facebook explicitly stated

 7 it requires Pixel users to “post a prominent notice on every page where the

 8 pixel is embedded and to link from that notice to information about exactly

 9 how the pixel works and what is being collected through it, so it is not

10 invisible.”44

11            135. By engaging in this improper sharing of information without
12 Plaintiffs’ and Class Members’ consent, Defendant breached Plaintiffs’ and

13 Class Members’ right to privacy and unlawfully disclosed their Private

14 Information.

15         G. Defendant’s Conduct Is Unlawful and Violated Industry Norms
16                  i. Defendant Violated California Law
17            136. California law has established policies and procedures for the
18 protection of the privacy of confidential communications.

19            137. California law provides that, “[a]ny person who, by means of any
20 machine, instrument, or contrivance, or in any other manner . . . willfully and

21 without the consent of all parties to the communication, or in any

22 unauthorized manner, reads, or attempts to read, or to learn the contents or

23 meaning of any message, report, or communication while the same is in transit

24 or passing over any wire, line, or cable, or is being sent from, or received at

25
     44
          See Transcript of the Argument on Plaintiff’s Motion for Preliminary
26 Injunction, In re Meta Pixel Healthcare Litigation, Case No. CV-22-03580-
     WHO (N.D. Cal. Nov. 9, 2022) (Hon. J. Orrick), at 19:12-18; see also In re
27 Meta Pixel Healthcare Litig., 2022 WL 17869218 (N.D. Cal. Dec. 22, 2022).

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                             CLASS ACTION COMPLAINT - 41
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 42 of 78



 1 any place within this state; or who uses, or attempts to use, in any manner, or

 2 for any purpose, or to communicate in any way, any information so obtained,

 3 or who aids, agrees with, employs, or conspires with any person or persons to

 4 unlawfully do, or permit, or cause to be done any of the acts or things

 5 mentioned above in this section, is punishable by a fine not exceeding two

 6 thousand five hundred dollars).” Cal. Penal Code § 631(a).

 7        138. Section 631(a) is not limited to phone lines, but also applies to
 8 “new technologies” such as computers, the Internet, and email. See Matera v.

 9 Google Inc., 2016 WL 8200619, at *21 (N.D. Cal. Aug. 12, 2016) (CIPA

10 applies to “new technologies” and must be construed broadly to effectuate its

11 remedial purpose of protecting privacy); Bradley v. Google, Inc., 2006 WL

12 3798134, at *5-6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic

13 communications”); In re Facebook, Inc. Internet Tracking Litigation, 956

14 F.3d 589 (9th Cir. 2020) (reversing dismissal of CIPA and common law

15 privacy claims based on Facebook’s collection of consumers’ Internet

16 browsing history).

17        139. Defendant’s actions described herein violated California law
18 because Defendant aided, employed, agreed with, and conspired with

19 Facebook, Google and likely other third parties to track and intercept

20 Defendant’s customers’ internet communications via the Tracking Tools

21 while their customers use the Website.

22              ii. Defendant Also Violated HIPAA Standards of Care
23        140. Under federal law, a healthcare provider may not disclose
24 personally identifiable, non-public medical information about a patient, a

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                          CLASS ACTION COMPLAINT - 42
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 43 of 78



 1 potential patient, or household member of a patient for marketing purposes

 2 without the patients’ express written authorization.45

 3            141. Defendant, although not a covered entity under HIPAA, engaged
 4 in actions that are in violation of HIPAA’s rules and standards in place to

 5 protect individuals’ PHI.

 6            142. The HIPAA Privacy Rule, located at 45 CFR Part 160 and
 7 Subparts A and E of Part 164, “establishes national standards to protect

 8 individuals’ medical records and other individually identifiable health

 9 information (collectively defined as ‘protected health information’) and

10 applies to health plans, health care clearinghouses, and those health care

11 providers that conduct certain health care transactions electronically.”46

12            143. The Privacy Rule broadly defines “protected health information”
13 (“PHI”) as individually identifiable health information (“IIHI”) that is

14 “transmitted by electronic media; maintained in electronic media; or

15 transmitted or maintained in any other form or medium.” 45 C.F.R. § 160.103.

16            144. IIHI is defined as “a subset of health information, including
17 demographic information collected from an individual” that is: (1) “created

18 or received by a health care provider, health plan, employer, or health care

19 clearinghouse”; (2) “[r]elates to the past, present, or future physical or mental

20 health or condition of an individual; the provision of health care to an

21 individual; or the past, present, or future payment for the provision of health

22 care to an individual”; and (3) either (a) “identifies the individual” or (b)

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     45
           HIPAA, 42 U.S.C. § 1320; 45 C.F.R. §§ 164.502; 164.508(a)(3),
25 164.514(b)(2)(i).

26   46
                    HIPAA                   For                Professionals,
   https://www.hhs.gov/hipaa/forprofessionals/privacy/index.html (last visited
27 Sept. 18, 2024).

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                             CLASS ACTION COMPLAINT - 43
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 44 of 78



 1 “[w]ith respect to which there is a reasonable basis to believe the information

 2 can be used to identify the individual.” 45 C.F.R. § 160.103.

 3         145. Under the HIPAA de-identification rule, “health information is
 4 not individually identifiable only if”: (1) an expert “determines that the risk

 5 is very small that the information could be used, alone or in combination with

 6 other reasonably available information, by an anticipated recipient to identify

 7 an individual who is a subject of the information” and “documents the

 8 methods and results of the analysis that justify such determination’”; or (2)

 9 “the following identifiers of the individual or of relatives, employers, or

10 household members of the individual are removed;

11                  a. Names;
                    ***
12                  H. Medical record numbers;
                    ***
13                  J. Account numbers;
                    ***
14                  M. Device identifiers and serial numbers;
                    N. Web Universal Resource Locators (URLs);
15                  O. Internet Protocol (IP) address numbers; … and
                    ***
16                  R. Any other unique identifying number, characteristic, or
                       code…; and
17                  S. the covered entity must not “have actual knowledge that
                       the information could be used alone or in combination
18                     with other information to identify an individual who is a
                       subject of the information.”
19
                    45 C.F.R. § 160.514.
20
           146. The HIPAA Privacy Rule requires any “covered entity”—which
21
     includes health care providers—to maintain appropriate safeguards to protect
22
     the privacy of protected health information and sets limits and conditions on
23
     the uses and disclosures that may be made of protected health information
24
     without authorization. 45 C.F.R. §§ 160.103, 164.502.
25
           147. An individual or corporation violates the HIPAA Privacy Rule if
26
     it knowingly and in violation of 42 U.S.C. §§ 1320d-1320d-9 (“Part C”): “(1)
27

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                           CLASS ACTION COMPLAINT - 44
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 45 of 78



 1 uses or causes to be used a unique health identifier; [or] (2) obtains

 2 individually identifiable health information relating to an individual.” The

 3 statute states that a “person … shall be considered to have obtained or

 4 disclosed individually identifiable health information in violation of [Part C]

 5 if the information is maintained by a covered entity … and the individual

 6 obtained or disclosed such information without authorization.” 42 U.S.C. §

 7 1320d-6.

 8              148. In its advisory document, Guidance Regarding Methods for De-
 9 identification of Protected Health Information in Accordance with the Health

10 Insurance Portability and Accountability Act Privacy Rule, the OCR

11 instructs:

12              Identifying information alone, such as personal names,
                residential addresses, or phone numbers, would not necessarily
13              be designated as PHI. For instance, if such information was
                reported as part of a publicly accessible data source, such as a
14              phone book, then this information would not be PHI because it
                is not related to health data… If such information was listed with
15              health condition, health care provision, or payment data, such as
                an indication that the individual was treated at a certain clinic,
16              then this information would be PHI.47
17              149. In its guidance document entitled Marketing, the OCR further

18 instructs:

19              The HIPAA Privacy Rule gives individuals important controls
                over whether and how their protected health information is used
20              and disclosed for marketing purposes. With limited exceptions,
                the Rule requires an individual’s written authorization before a
21              use or disclosure of his or his protected health information can
                be made for marketing. … Simply put, a covered entity may not
22              sell protected health information to a business associate or any
                other third party for that party’s own purposes. Moreover,
23              covered entities may not sell lists of patients to third parties
                without obtaining authorization from each person on the list
24              (emphasis added).48
25   47
    https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/understanding/co
   veredentities/De-identification/hhs_deid_guidance.pdf (last visited Sept. 18,
26 2024).

27   48
          Id.
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                                CLASS ACTION COMPLAINT - 45
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 46 of 78



 1            150. As alleged above, there is an HHS Bulletin that highlights the
 2 obligations of “regulated entities,” which are HIPAA-covered entities and

 3 business associates, when using tracking technologies.49

 4            151. The Bulletin expressly provides that “[r]egulated entities are not
 5 permitted to use tracking technologies in a manner that would result in

 6 impermissible disclosures of PHI to tracking technology vendors or any other

 7 violations of the HIPAA Rules.”

 8            152. Defendant’s use of third-party Tracking Tools on its Website to
 9 capture and disclose users’ PHI to Facebook and Google violates HIPAA’s

10 rules and industry standards.

11         H. Users’ Reasonable Expectation of Privacy.
12            153. Plaintiffs and Class Members were aware of Defendant’s duty of
13 confidentiality when they sought sensitive healthcare products from

14 Defendant.

15            154. Indeed, at all times when Plaintiffs and Class Members provided
16 their PII and PHI to Defendant, they each had a reasonable expectation that

17 the information would remain confidential and that Defendant would not

18 share the Private Information with third parties for a commercial purpose

19 unrelated to health care.

20            155. Privacy polls and studies show that the overwhelming majority
21 of Americans consider obtaining an individual’s affirmative consent before a

22 company collects and shares that individual’s data to be one of the most

23 important privacy rights.

24            156. For example, a recent Consumer Reports study shows that 92%
25 of Americans believe that internet companies and websites should be required

26
     49
          See https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-
27 online-tracking/index.html (last visited Sept. 18, 2024).

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                             CLASS ACTION COMPLAINT - 46
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 47 of 78



 1 to obtain consent before selling or sharing consumer data, and the same

 2 percentage believe those companies and websites should be required to

 3 provide consumers with a complete list of the data that is collected about

 4 them.50

 5            157. The privacy of their personal data and the expectation that their
 6 Personal Information would not be shared without consent were material

 7 factors leading to Plaintiffs’ and Class Members’ purchases of Defendant’s

 8 medical products, including fertility tests, ovulation tests, and pregnancy

 9 tests.

10         I. Defendant was Enriched and Benefitted from the Use of Pixels,
              Google trackers and Unauthorized Disclosures.
11
              158. The primary motivation and a determining factor in Defendant’s
12
     interception and disclosure of Plaintiffs’ and Class Members’ Private
13
     Information was to commit criminal and tortious acts in violation of federal
14
     and state laws as alleged herein, namely, the use of customer data for
15
     advertising in the absence of express written consent. Defendant’s further use
16
     of the Private Information after the initial interception and disclosure for
17
     marketing and revenue generation was in violation of HIPAA and an invasion
18
     of privacy.
19
              159. Defendant used the Tracking Tools on the Website for its own
20
     purposes of marketing and increasing profits.
21
              160. Based    on   information    and   belief,   Defendant   receives
22
     compensation from third parties like Facebook and Google in the form of
23

24
     50
      Consumers Less Confident About Healthcare, Data Privacy, and Car
25 Safety,       New        Survey     Finds,      (May       11,     2017),
   https://www.consumerreports.org/consumer-reports/consumers-less-
26 confident-about-healthcare-data-privacy-and-car-safety-a3980496907/ (last
   visited Sept. 19, 2024).
27

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                             CLASS ACTION COMPLAINT - 47
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 48 of 78



 1 enhanced advertising services and more cost-efficient marketing on third-

 2 party platforms in exchange for disclosing customers’ personally identifiable

 3 information.

 4            161. Based on information and belief, Defendant was advertising its
 5 services on Facebook, as well as other online platforms, and the Pixels were

 6 used to “help [First Response] understand which types of ads and platforms

 7 are getting the most engagement[.]”51

 8            162. Retargeting is a form of online marketing that targets users with
 9 ads based on their previous Internet communications and interactions.

10            163. Upon information and belief, Defendant re-targeted customers
11 and potential customers to get more people to use its services and purchase

12 their products. These customers include Plaintiffs and Class Members.

13            164. By utilizing the Pixel and , Google trackers Defendant’s cost of
14 advertising and retargeting was reduced, thereby benefiting and enriching

15 Defendant.

16         J. Plaintiffs’ and Class Members’ Data has Financial Value
17            165. Plaintiffs’ and Class Members’ Private Information had value
18 and Defendant’s interception and unauthorized disclosure thereof harmed

19 Plaintiffs and the Class.

20            166. Conservative estimates suggest that in 2018, Internet companies
21 earned $202 per American user from mining and selling data. That figure will

22 only increase; estimates for 2022 are as high as $434 per user, for a total of

23 more than $200-billion industry-wide.

24            167. The value of health data particularly is well-known and has been
25 reported on extensively in the media. For example, Time Magazine published

26
     51
          RETARGETING, https://www.facebook.com/business/goals/retargeting (last
27 visited Sept. 14, 2024).

28
                             CLASS ACTION COMPLAINT - 48
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 49 of 78



 1 an article in 2017 titled How Your Medical Data Fuels a Hidden Multi-Billion

 2 Dollar Industry describing the extensive market for health data that observed

 3 that the market for information was both lucrative and a significant risk to

 4 privacy.52

 5            168. Similarly, CNBC published an article in 2019 in which it
 6 observed that “[d]e-identified patient data has become its own small

 7 economy: There’s a whole market of brokers who compile the data from

 8 providers and other health-care organizations and sell it to buyers.”53

 9            169. Several companies have products through which they pay
10 consumers for a license to track certain information. Google, Nielsen,

11 UpVoice, HoneyGain, and SavvyConnect are all companies that pay for

12 browsing history information.

13            170. Facebook itself has paid users for their digital information,
14 including browsing history. Until 2019, Facebook ran a “Facebook Research”

15 app through which it paid $20 a month for a license to collect browsing history

16 information and other communications from consumers between the ages 13

17 and 35.

18            171. Technology companies are under particular scrutiny because
19 they already have access to a massive trove of information about people,

20 which they use to serve their own purposes, including potentially micro-

21 targeting advertisements to people with certain health conditions.

22

23

24

25   52
       See https://time.com/4588104/medical-data-industry/ (last visited Sept. 19,
     2024).
26
     53
       See https://www.cnbc.com/2019/12/18/hospital-execs-say-theyre-flooded-
27 with-requests-for-your-health-data.html (last visited Sept. 19, 2024).

28
                            CLASS ACTION COMPLAINT - 49
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 50 of 78



 1              172. Policymakers are proactively calling for a revision and potential
 2 upgrade of the HIPAA privacy rules out of concern for what might happen as

 3 tech companies continue to march into the medical sector.54

 4              173. The Private Information at issue here is also a valuable
 5 commodity to identity thieves. As the FTC recognizes, identity thieves can

 6 use Private Information to commit an array of crimes, including identity theft

 7 and medical and financial fraud.55 A robust “cyber black market” exists where

 8 criminals openly post stolen PII and PHI on underground Internet websites,

 9 commonly referred to as the dark web.

10              174. While credit card information and associated IIHI can sell for as
11 little as $1–$2 on the black market, PHI can sell for as much as $363.56

12              175. PHI is particularly valuable because criminals can use it to target
13 victims with frauds that take advantage of their medical conditions.

14              176. PHI can also be used to create fraudulent insurance claims and
15 facilitate the purchase and resale of medical equipment, and it can help

16 criminals gain access to prescriptions for illegal use or sale.

17              177. Medical identity theft can result in inaccuracies in medical
18 records, costly false claims, and life-threatening consequences. If a victim’s

19 health information is comingled with other records, it can lead to

20 misdiagnoses or mistreatment.

21

22

23   54
          Id.
24   55
             FTC,        Warning      Signs     of       Identity       Theft,
   https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft
25 (last visited Sept. 19, 2024).

26   56
          Center for Internet Security, Data Breaches: In the Healthcare Sector,
   https://www.cisecurity.org/blog/data-breaches-in-the-healthcare-sector/ (last
27 visited Sept. 19, 2024).

28
                                CLASS ACTION COMPLAINT - 50
          Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 51 of 78



 1            178. The FBI Cyber Division issued a Private Industry Notification
 2 on April 8, 2014 that advised the following:

 3                 Cyber criminals are selling [medical] information
                   on the black market at a rate of $50 for each partial
 4                 EHR, compared to $1 for a stolen social security
                   number or credit card number. EHR can then be
 5                 used to file fraudulent insurance claims, obtain
                   prescription medication, and advance identity theft.
 6                 EHR theft is also more difficult to detect, taking
                   almost twice as long as normal identity theft.57
 7
              179. Cybercriminals often trade stolen Private Information on the
 8
     black market for years following a breach or disclosure. Stolen Private
 9
     Information may also be posted on the Internet, making it publicly available.
10
              180. Defendant gave away Plaintiffs’ and Class Members’
11
     communications and transactions on the Website without permission.
12
              181. The unauthorized access to Plaintiffs’ and Class Members’
13
     Private Information has diminished the value of that information, resulting in
14
     harm to Users, including Plaintiffs and Class Members.
15
           K. Defendant Used and Disclosed Plaintiffs’ and Class Members’
16            Private Information Without Their Knowledge, Consent,
              Authorization, or Further Action
17
              182. The Tracking Tools incorporated into, embedded in, or otherwise
18
     permitted on Defendant’s Website were invisible to Plaintiffs and Class
19
     Members while using that Website. The Tracking Tools on Defendant’s
20
     Website were seamlessly integrated into the Website such that there was no
21
     reason for Plaintiffs or any Class Member to be aware of or to discover their
22
     presence.
23

24
     57
          Private Industry Notification: Health Care Systems and Medical Devices
25 at Risk for Increased Cyber Intrusions for Financial Gain, FEDERAL BUREAU
     OF      INVESTIGATION     –   CYBER     DIVISION,     available       online    at:
26 https://www.ftc.gov/system/files/ftc_gov/pdf/FTC-OCR-Letter-Third-Party-
     https://info.publicintelligence.net/FBI-HealthCareCyberIntrusions.pdf          (last
27 visited Sept. 20, 2024).

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                             CLASS ACTION COMPLAINT - 51
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 52 of 78



 1          183. Plaintiffs and Class Members were shown no disclaimer or
 2 warning that their Private Information would be disclosed to any unauthorized

 3 third party without their express consent.

 4          184. Plaintiffs and Class Members had no idea that their Private
 5 Information was being collected and transmitted to an unauthorized third

 6 party.

 7          185. Because Plaintiffs and Class Members had no idea of the
 8 presence of the Tracking Tools on Defendant’s website, or that their Private

 9 Information would be collected and transmitted to Meta and/or Google for

10 advertising, they could not and did not consent to Defendant’s conduct.

11          186. Plaintiffs and Class Members did not give consent or
12 authorization for Defendant to disclose their Private Information to Meta or

13 to any third party for marketing purposes.

14    L. Representative Plaintiffs Experiences
15    Plaintiff A.D.
16          187. Plaintiff A.D. has utilized Defendant’s Website on several
17 occasions to look up, research, and purchase First Response pregnancy test

18 kits.

19          188. Plaintiff A.D. accessed Defendant’s Website on her computer
20 and mobile device and, as a condition of purchasing Defendant’s products,

21 Plaintiff disclosed her Private Information to Defendant.

22          189. Specifically, Plaintiff A.D. used the First Response Website on
23 numerus occasions starting in or around September 2021 to look up First

24 Response products and to purchase First Response Triple Check Pregnancy

25 Test kits online by clicking the “Buy Now” button on the Website.

26          190. Plaintiff A.D. has maintained an active Facebook account
27 throughout the relevant period in this case, which she is perpetually logged

28
                           CLASS ACTION COMPLAINT - 52
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 53 of 78



 1 into, and which is registered under her legal name on the same devices she

 2 used to access the First Response Website.

 3        191. Plaintiff A.D. has maintained an active and valid Google account
 4 throughout the relevant period in this case.

 5        192. The full scope of Defendant’s interceptions and disclosures of
 6 Plaintiff A.D.’s communications to Meta and Google can only be determined

 7 through formal discovery. However, Defendant intercepted at least the

 8 following communications about Plaintiff’s present or future medical

 9 condition. The following long-URLs or substantially similar URLs were sent

10 to Meta via the Pixel and to Google via Google Analytics:

11        https://www.firstresponse.com/en/product-listings
          https://www.firstresponse.com/en/product-listings/triple-check-
12        pregnancy-test-kit
13        193. Contemporaneously with the interception and transmission of
14 Plaintiff   A.D.’s communications on https://www.firstresponse.com/en,
15 Defendant also disclosed to Meta Plaintiff’s personal identifiers, including

16 but not limited to her IP address and Facebook ID.

17        194. Plaintiff A.D. reasonably expected that her communications with
18 Defendant via the Website were confidential, solely between herself and

19 Defendant, and that such communications would not be transmitted to or

20 intercepted by a third party.

21        195. Plaintiff A.D. provided her Private Information to Defendant and
22 trusted that the information would be safeguarded according to Defendant’s

23 policies and state and federal law.

24        196. Further to the systematic process described herein, Defendant
25 assisted    Facebook and Google with intercepting Plaintiff A.D.’s
26 communications, including those that contained personally identifiable

27

28
                          CLASS ACTION COMPLAINT - 53
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 54 of 78



 1 information,    protected health information and related confidential
 2 information.

 3         197. Defendant assisted these interceptions without Plaintiff A.D.’s
 4 knowledge, consent or express written authorization.

 5         198. After intercepting and collecting this information, Facebook
 6 processes it, analyzes it, and assimilates it into datasets like Core Audiences

 7 and Custom Audiences. If the Website visitor is also a Facebook user,

 8 Facebook will associate the information that it collects from the visitor with

 9 a Facebook ID that identifies their name and Facebook profile, i.e., their real-

10 world identity. A user’s Facebook Profile ID is linked to their Facebook

11 profile, which generally contains a wide range of demographic and other

12 information about the user, including pictures, personal interests, work

13 history, relationship status, and other details. Because the user’s Facebook

14 Profile ID uniquely identifies an individual’s Facebook account, Meta—or

15 any ordinary person—can easily use the Facebook Profile ID to quickly and

16 easily locate, access, and view the user’s corresponding Facebook profile.

17         199. Following her visits to Defendant’s Website in or around
18 September of 2021 to review and purchase First Response pregnancy test kits,

19 Plaintiff A.D. observed advertisements on her Facebook account related to

20 the products she sought and received through webpages she viewed and

21 accessed on Defendant’s Website, specifically ads for various pregnancy test

22 kits.

23         200. Defendant breached Plaintiff A.D.’s right to privacy and
24 unlawfully disclosed her Private Information to Facebook.

25         201. Plaintiff A.D. would not have used Defendant’s Website to
26 review and purchase First Response pregnancy tests had she known that the

27

28
                          CLASS ACTION COMPLAINT - 54
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 55 of 78



 1 Website is tracking and disclosing her PHI to third-party data brokers like

 2 Facebook and Google.

 3        202. Plaintiff A.D. has a continuing interest in ensuring that future
 4 communications with Defendant are protected and safeguarded from future

 5 unauthorized disclosure.

 6 Plaintiff A.O.S.

 7        203. Plaintiff A.O.S. has utilized Defendant’s Website look up,
 8 research, and purchase First Response pregnancy test kits.

 9        204. Plaintiff A.O.S. accessed Defendant’s Website on her computer
10 and mobile device and, as a condition of purchasing Defendant’s products,

11 Plaintiff disclosed her Private Information to Defendant.

12        205. Specifically, Plaintiff A.O.S. used the First Response Website in
13 July 2024 to look up and research First Response products and to purchase a

14 First Response Triple Check Pregnancy Test kit online by clicking the “Buy

15 Now” button on the Website and clicking the “Check Out on Amazon” button

16 on the Website.

17        206. Plaintiff A.O.S. has maintained an active Facebook account
18 throughout the relevant period in this case, which she is perpetually logged

19 into and which is registered under her legal name on the same devices she

20 used to access the First Response Website.

21        207. Plaintiff A.O.S. has maintained an active and valid Google
22 account throughout the relevant period in this case.

23        208. The full scope of Defendant’s interceptions and disclosures of
24 Plaintiff A.O.S.’s communications to Meta and Google can only be

25 determined through formal discovery. However, Defendant intercepted at

26 least the following communications about Plaintiff’s present or future medical

27

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                          CLASS ACTION COMPLAINT - 55
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 56 of 78



 1 condition. The following long-URLs or substantially similar URLs were sent

 2 to Meta via the Pixel and to Google via Google Analytics:

 3        https://www.firstresponse.com/en/product-listings
          https://www.firstresponse.com/en/product-listings/triple-check-
 4        pregnancy-test-kit
 5        209. Contemporaneously with the interception and transmission of
 6 Plaintiff A.O.S.’s communications on https://www.firstresponse.com/en,

 7 Defendant also disclosed to Meta Plaintiff’s personal identifiers, including

 8 but not limited to her IP address and Facebook ID.

 9        210. Plaintiff A.O.S. reasonably expected that her communications
10 with Defendant via the Website were confidential, solely between herself and

11 Defendant, and that such communications would not be transmitted to or

12 intercepted by a third party.

13        211. Plaintiff A.O.S. provided her Private Information to Defendant
14 and trusted that the information would be safeguarded according to

15 Defendant’s policies and state and federal law.

16        212. Further to the systematic process described herein, Defendant
17 assisted   Facebook and Google with intercepting Plaintiff A.O.S.’s
18 communications, including those that contained personally identifiable

19 information,    protected health information and related confidential
20 information.

21        213. Defendant assisted these interceptions without Plaintiff A.O.S.’s
22 knowledge, consent or express written authorization.

23        214. After intercepting and collecting this information, Facebook
24 processes it, analyzes it, and assimilates it into datasets like Core Audiences

25 and Custom Audiences. If the Website visitor is also a Facebook user,

26 Facebook will associate the information that it collects from the visitor with

27 a Facebook ID that identifies their name and Facebook profile, i.e., their real-

28
                          CLASS ACTION COMPLAINT - 56
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 57 of 78



 1 world identity. A user’s Facebook Profile ID is linked to their Facebook

 2 profile, which generally contains a wide range of demographic and other

 3 information about the user, including pictures, personal interests, work

 4 history, relationship status, and other details. Because the user’s Facebook

 5 Profile ID uniquely identifies an individual’s Facebook account, Meta—or

 6 any ordinary person—can easily use the Facebook Profile ID to quickly and

 7 easily locate, access, and view the user’s corresponding Facebook profile.

 8        215. Following her visits to Defendant’s Website in or around July 13,
 9 2024 to review and purchase a First Response pregnancy test kit, Plaintiff

10 A.O.S. observed advertisements on her Facebook account related to the

11 products she sought and received through webpages she viewed and accessed

12 on Defendant’s Website, specifically advertisements for various pregnancy

13 test kits from First Response and other companies, as well as advertisements

14 for various fertility and conception-related products such as pills and gels.

15        216. Defendant breached Plaintiff A.O.S.’s right to privacy and
16 unlawfully disclosed her Private Information to Facebook.

17        217. Plaintiff A.O.S. would not have used Defendant’s Website to
18 review and purchase First Response pregnancy tests had she known that the

19 Website is tracking and disclosing her PHI to third-party data brokers like

20 Facebook and Google.

21        218. Plaintiff A.O.S. has a continuing interest in ensuring that future
22 communications with Defendant are protected and safeguarded from future

23 unauthorized disclosure.

24                TOLLING, CONCEALMENT & ESTOPPEL
25        219. Any applicable statutes of limitation have been tolled by
26 Defendant’s knowing and active concealment of their incorporation of the

27 Meta Pixel and/or Google Analytics into its First Response Website.

28
                          CLASS ACTION COMPLAINT - 57
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 58 of 78



 1        220. The Meta Pixel and other tracking tools on Defendant’s Website
 2 were and are entirely invisible to a Website visitor.

 3        221. Through no fault or lack of diligence, Plaintiffs and Class
 4 Members were deceived and could not reasonably discover Defendant’s

 5 deception and unlawful conduct.

 6        222. Plaintiffs were ignorant of the information essential to pursue
 7 their claims, without any fault or lack of diligence on their part.

 8        223. Defendant      had   exclusive    knowledge     that      its   Website
 9 incorporated the Meta Pixel and other tracking tools and yet failed to disclose

10 to its customers, including Plaintiffs and Class Members, that by purchasing

11 sensitive healthcare products including fertility, ovulation, and pregnancy test

12 kits through Defendant’s Website, Plaintiffs’ and Class Members’ Private

13 Information would be disclosed or released to Meta and other unauthorized

14 third parties.

15        224. Under the circumstances, Defendant was under a duty to disclose
16 the nature, significance, and consequences of its collection and treatment of

17 its customers’ Private Information. In fact, to the present Defendant has not

18 conceded, acknowledged, or otherwise indicated to its customers that it has

19 disclosed or released their Private Information to unauthorized third parties.

20 Accordingly, Defendant is estopped from relying on any statute of limitations.

21        225. Moreover, all applicable statutes of limitation have also been
22 tolled pursuant to the discovery rule.

23        226. The earliest that Plaintiffs, acting with due diligence, could have
24 reasonably discovered Defendant’s conduct would have been shortly before

25 the filing of this Complaint when they discussed Defendant’s violations with

26 their counsel in August of 2024.

27                           CLASS ALLEGATIONS
28
                          CLASS ACTION COMPLAINT - 58
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 59 of 78



 1         227. This action is brought by the named Plaintiffs behalf of both
 2 themselves, and a proposed Class of all other persons similarly situated under

 3 Federal Rules of Civil Procedure 23(b)(2), 23(b)(3), and 23(c)(4).

 4         228. The Nationwide Class that Plaintiffs seek to represent is defined
 5 as follows:

 6         All natural persons who used Defendant’s Website to purchase
           healthcare products to treat and/or diagnose sensitive health conditions
 7         and whose Private Information was disclosed or transmitted to
           Facebook, Google or any unauthorized third party.
 8
           229. In addition to the claims asserted on behalf of the Nationwide
 9
     Class, Plaintiffs assert claims on behalf of the California Subclass, which is
10
     defined as follows:
11
           All natural persons residing in California who used Defendant’s
12         Website to purchase healthcare products to treat and/or diagnose
           sensitive health conditions and whose Private Information was
13         disclosed or transmitted to Facebook, Google or any unauthorized third
           party.
14
           230. Excluded from the proposed Class are any claims for personal
15
     injury, wrongful death, or other property damage sustained by the Class; and
16
     any Judge conducting any proceeding in this action and members of their
17
     immediate families.
18
           231. Plaintiffs reserve the right to amend the definitions of the Class
19
     or add subclasses if further information and discovery indicate that the
20
     definitions of the Class should be narrowed, expanded, or otherwise modified.
21
           232. Numerosity. The Class is so numerous that the individual
22
     joinder of all members is impracticable. Upon information and good faith
23
     belief, there are at least one-million customers that have been impacted by
24
     Defendant’s actions. Moreover, the exact number of those impacted is
25
     generally ascertainable by appropriate discovery and is in the exclusive
26
     control of Defendant.
27

28
                             CLASS ACTION COMPLAINT - 59
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 60 of 78



 1        233. Commonality. Common questions of law or fact arising from
 2 Defendant’s conduct exist as to all members of the Class, which predominate

 3 over any questions affecting individual Class Members. These common

 4 questions include, but are not limited, to the following:

 5           a. Whether and to what extent Defendant had a duty to protect the
 6              Private Information of Plaintiffs and Class Members;
 7           b. Whether Defendant had duties not to disclose the Private
 8              Information of Plaintiffs and Class Members to unauthorized
 9              third parties;
10           c. Whether Defendant adequately, promptly, and accurately
11              informed Plaintiffs and Class Members that their Private
12              Information would be disclosed to third parties;
13           d. Whether Defendant violated the law by failing to promptly
14              notify Plaintiffs and Class Members that their Private
15              Information was being disclosed without their consent;
16           e. Whether Defendant adequately addressed and fixed the
17              practices which permitted the unauthorized disclosure of
18              customers’ Private Information;
19           f. Whether Defendant engaged in unfair, unlawful, or deceptive
20              practices by failing to keep the Private Information belonging to
21              Plaintiffs and Class Members free from unauthorized
22              disclosure;
23           g. Whether Defendant violated the statutes asserted as claims in
24              this Complaint;
25           h. Whether Plaintiffs and Class Members are entitled to actual,
26              consequential, and/or nominal damages as a result of
27              Defendant’s wrongful conduct and
28
                          CLASS ACTION COMPLAINT - 60
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 61 of 78



 1           i. Whether Plaintiffs and Class Members are entitled to injunctive
 2               relief to redress the imminent and currently ongoing harm faced
 3               as a result of the Defendant’s disclosure of their Private
 4               Information.
 5        234. Typicality: Plaintiffs’ claims are typical of those of other Class
 6 Members because Plaintiffs’ Private Information, like that of every other

 7 Class Member, was compromised as a result of Defendant’s incorporation and

 8 use of the Tracking Tools.

 9        235. Adequacy: Plaintiffs will fairly and adequately represent and
10 protect the interests of the Class in that Plaintiffs have no disabling conflicts

11 of interest that would be antagonistic to those of the other members of the

12 Class. Plaintiffs seek no relief that is antagonistic or adverse to the members

13 of the Class and the infringement of the rights and the damages Plaintiffs have

14 suffered are typical of other Class Members. Plaintiffs have also retained

15 counsel experienced in complex class action litigation, and Plaintiffs intend

16 to prosecute this action vigorously.

17        236. Predominance: Defendant has engaged in a common course of
18 conduct toward Plaintiffs and Class Members in that all the Plaintiffs’ and

19 Class Members’ data was unlawfully stored and disclosed to unauthorized

20 third parties, including the Pixel Information Recipients, in the same way. The

21 common issues arising from Defendant’s conduct affecting Class Members

22 set out above predominate over any individualized issues. Adjudication of

23 these common issues in a single action has important and desirable

24 advantages of judicial economy.

25        237. Superiority: A class action is superior to other available
26 methods for the fair and efficient adjudication of the controversy. Class

27 treatment of common questions of law and fact is superior to multiple

28
                           CLASS ACTION COMPLAINT - 61
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 62 of 78



 1 individual actions or piecemeal litigation. Absent a class action, most Class

 2 Members would likely find the cost of litigating their individual claim is

 3 prohibitively high and would therefore have no effective remedy. The

 4 prosecution of separate actions by individual Class Members would create a

 5 risk of inconsistent or varying adjudications with respect to Defendant. In

 6 contrast, the conduct of this action as a class action presents far fewer

 7 management difficulties, conserves judicial resources and the parties’

 8 resources, and protects the rights of each Class member.

 9        238. Defendant has acted on grounds that apply generally to the Class
10 as a whole so that class certification, injunctive relief, and corresponding

11 declaratory relief are appropriate on a class-wide basis.

12        239. Likewise, particular issues under Fed. R. Civ. P. 23(c)(4) are
13 appropriate for certification because claims present only particular, common

14 issues, the resolution of which would advance the disposition of this matter

15 and the parties’ interests therein. Such particular issues include, but are not

16 limited to:

17           a. Whether Defendant owed a legal duty to Plaintiffs and the Class
18               to exercise due care in collecting, storing, and safeguarding their
19               Private Information and not disclosing it to unauthorized third
20               parties;
21           b. Whether Defendant breached a legal duty to Plaintiffs and the
22               Class Members to exercise due care in collecting, storing, using,
23               and safeguarding their Private Information;
24           c. Whether Defendant failed to comply with its own policies and
25               applicable laws, regulations, and industry standards relating to
26               data security;
27

28
                            CLASS ACTION COMPLAINT - 62
      Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 63 of 78



 1            d. Whether Defendant adequately and accurately informed
 2                Plaintiffs and Class Members that their Private Information
 3                would be disclosed to third parties;
 4            e. Whether Defendant failed to implement and maintain reasonable
 5                security procedures and practices appropriate to the nature and
 6                scope of the information disclosed to third parties;
 7            f. Whether Plaintiffs and Class Members are entitled to actual,
 8                consequential, and/or nominal damages and/or injunctive relief
 9                as a result of Defendant’s wrongful conduct.
10         240. Finally, all members of the proposed Class are readily
11 ascertainable. Adequate notice can be given to Class Members directly using

12 information maintained in Defendant’s records.

13                                 COUNT I
            VIOLATIONS OF ELECTRONIC COMMUNICATIONS
14                             PRIVACY ACT
                         18 U.S.C. § 2511(1), et seq.
15              Unauthorized Interception, Use, and Disclosure
                (On Behalf of Plaintiffs & the Nationwide Class)
16
           241. Plaintiffs repeat the allegations contained in the foregoing
17
     paragraphs as if fully set forth herein.
18
           242. The ECPA protects both sending and receipt of communications.
19
           243. 18 U.S.C. § 2520(a) provides a private right of action to any
20
     person whose wire or electronic communications are intercepted, disclosed,
21
     or intentionally used in violation of Chapter 119.
22
           244. The transmissions of Plaintiffs’ PII and PHI to Defendant’s
23
     Website qualify as “communications” under the ECPA’s definition of 18
24
     U.S.C. § 2510(12).
25
           245. Electronic Communications. The transmission of PII and PHI
26
     between Plaintiffs and Class Members and Defendant’s Website with which
27

28
                            CLASS ACTION COMPLAINT - 63
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 64 of 78



 1 they chose to exchange communications are “transfer[s] of signs, signals,

 2 writing, …data, [and] intelligence of [some] nature transmitted in whole or in

 3 part by a wire, radio, electromagnetic, photoelectric, or photo optical system

 4 that   affects   interstate   commerce”     and   are      therefore   “electronic
 5 communications” within the meaning of 18 U.S.C. § 2510(12).

 6        246. Content. The ECPA defines content, when used with respect to
 7 electronic communications, to “include[] any information concerning the

 8 substance, purport, or meaning of that communication.” 18 U.S.C. § 2510(8)

 9 (emphasis added).

10        247. Defendant’s intercepted communications include, but are not
11 limited to, communications to/from Plaintiffs and Class Members regarding

12 PII and PHI, certain medical conditions, and testing for such conditions.

13 Furthermore,     Defendant    intercepted   the   “contents”      of   Plaintiffs’
14 communications in at least the following forms:

15           a. The parties to the communications;
16           b. Personally identifying information such as customers’ IP
17              addresses, Facebook IDs, unique Google cookies, browser
18              fingerprints, and other unique identifiers;
19           c. The precise text of customer communications about specific
20              medical conditions and testing for these medical conditions;
21           d. Information that informs third parties of the general subject of
22              communications that Defendant sends back to customers in
23              response to requests for information about specific medical
24              conditions and testing for specific conditions.
25        248. Interception. The ECPA defines the interception as the
26 “acquisition of the contents of any wire, electronic, or oral communication

27 through the use of any electronic, mechanical, or other device” and “contents

28
                          CLASS ACTION COMPLAINT - 64
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 65 of 78



 1 … include any information concerning the substance, purport, or meaning of

 2 that communication.” 18 U.S.C. § 2510(4), (8).

 3        249. Electronic, Mechanical or Other Device. The ECPA defines
 4 “electronic, mechanical, or other device” as “any device … which can be used

 5 to intercept a[n] … electronic communication[.]” 18 U.S.C. § 2510(5). The

 6 following constitute “devices” within the meaning of 18 U.S.C. § 2510(5):

 7           a. Plaintiffs’ and Class Members’ browsers;
 8           b. Plaintiffs’ and Class Members’ computing devices;
 9           c. Defendant’s webservers; and
10           d. The Pixel and Google tracking code deployed by Defendant to
11              effectuate   the   sending    and   acquisition   of   customer
12              communications.
13        250. By utilizing and embedding the Tracking Tools on its Website,
14 Defendant intentionally intercepted, endeavored to intercept, and procured

15 another person to intercept, the electronic communications of Plaintiffs and

16 Class Members, in violation of 18 U.S.C. § 2511(1)(a).

17        251. Specifically, Defendant intercepted Plaintiffs’ and Class
18 Members’ electronic communications via the Tracking Tools, which tracked,

19 stored, and unlawfully disclosed Plaintiffs’ and Class Members’ Private

20 Information to third parties such as Facebook and Google.

21        252. Defendant’s intercepted communications include, but are not
22 limited to, communications to/from Plaintiffs and Class Members regarding

23 PII and PHI, including their sensitive medical conditions.

24        253. By intentionally disclosing or endeavoring to disclose the
25 electronic communications of Plaintiffs and Class Members to affiliates and

26 other third parties, while knowing or having reason to know that the

27 information was obtained through the interception of an electronic

28
                         CLASS ACTION COMPLAINT - 65
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 66 of 78



 1 communication in violation of 18 U.S.C. § 2511(1)(a), Defendant violated 18

 2 U.S.C. § 2511(1)(c).

 3        254. By intentionally using, or endeavoring to use, the contents of the
 4 electronic communications of Plaintiffs and Class Members, while knowing

 5 or having reason to know that the information was obtained through the

 6 interception of an electronic communication in violation of 18 U.S.C. §

 7 2511(1)(a), Defendant violated 18 U.S.C. § 2511(1)(d).

 8        255. Unauthorized Purpose. Defendant intentionally intercepted the
 9 contents of Plaintiffs’ and Class Members’ electronic communications for the

10 purpose of committing a tortious act in violation of the Constitution of the

11 laws of the United States or of any State-namely negligence, among others.

12        256. The ECPA provides that a “party to the communication” may be
13 liable where a “communication is intercepted for the purpose of committing

14 any criminal or tortious act in violation of the Constitution or laws of the

15 United States or of any State.” 18 U.S.C § 2511(2)(d).

16        257. Defendant is not a party for purposes to the communication based
17 on its unauthorized duplication and transmission of communications with

18 Plaintiffs and the Class. However, even assuming Defendant is a party,

19 Defendant’s    simultaneous,    unknown     duplication,   forwarding,    and
20 interception of Plaintiffs’ and Class Members’ Private Information does not

21 qualify for the party exemption.

22        258. At all relevant times, Defendant aided, employed, agreed with,
23 and conspired with Facebook, Google and likely other third parties to track

24 and intercept Plaintiffs’ and Class Members’ internet communications while

25 using the Website, specifically by installing and configuring the Tracking

26 Tools to permit Facebook and Google to eavesdrop on and intercept in real-

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                          CLASS ACTION COMPLAINT - 66
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 67 of 78



 1 time the content of Plaintiffs’ and Class Members’ private communications

 2 with Defendant.

 3        259. Defendant failed to disclose that it uses the Tracking Tools to
 4 track and automatically and simultaneously transmit highly sensitive personal

 5 communications to Facebook and/or Google for targeted advertising.

 6        260. Plaintiffs’ and Class Members’ information that Defendant
 7 disclosed to third parties qualifies as PHI, and Defendant violated Plaintiffs’

 8 expectations of and right to privacy, and constitutes tortious conduct.

 9 Defendant intentionally used the wire or electronic communications to

10 intercept Plaintiffs’ Private Information in violation of the law.

11        261. Defendant’s conduct violated Plaintiffs’ and Class Members
12 right to privacy in that it: Used and caused to be used cookie identifiers

13 associated with specific customers without customer authorization; and

14 disclosed individually identifiable health information to Facebook and

15 Google without customer authorization.

16        262. Defendant’s      conduct    is   especially    egregious   because
17 Defendant’s use of the Facebook and Google source code was for Defendant’s

18 commercial advantage to increase revenue from existing customers and gain

19 new customers.

20        263. Defendant’s acquisition of customer communications that were
21 used and disclosed to Facebook and Google was done for purposes of

22 committing criminal and tortious acts in violation of the laws of the United

23 States and individual States nationwide as set forth herein, including:

24           a. Invasion of Privacy.
25        264. Defendant is not exempt from ECPA liability under 18 U.S.C. §
26 2511(2)(d) on the ground that it was a participant in Plaintiffs’ and Class

27 Members’ communications about their Private Information on its Website,

28
                          CLASS ACTION COMPLAINT - 67
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 68 of 78



 1 because it used its participation in these communications to improperly share

 2 Plaintiffs’ and Class Members’ Private Information with Facebook and third-

 3 parties that did not participate in these communications, that Plaintiffs and

 4 Class Members did not know was receiving their information, and that

 5 Plaintiffs and Class Members did not consent to receive this information

 6        265. As such, Defendant cannot viably claim any exception to ECPA
 7 liability.

 8        266. Plaintiffs and Class Members have suffered damages as a direct
 9 and proximate result of Defendant’s invasion of privacy in that:

10              a. Learning that Defendant has intruded upon, intercepted,
11                 transmitted, shared, and used their PII and PHI (including
12                 information about their medical symptoms, conditions, medical
13                 testing sought and concerns) for commercial purposes has
14                 caused Plaintiffs and Class Members to suffer emotional
15                 distress;
16              b. Defendant received substantial financial benefits from its use of
17                 Plaintiffs’ and Class Members’ PII and PHI without providing
18                 any value or benefit to Plaintiffs or Class Members;
19              c. Defendant received substantial, quantifiable value from its use
20                 of Plaintiffs’ and Class Members’ PII and PHI, such as
21                 understanding how people use its Website, how users purchase
22                 Defendant’s First Response products, and determining what ads
23                 people see on its Website and/or on their social media, without
24                 providing any value or benefit to Plaintiffs or Class Members;
25              d. Defendant has failed to provide Plaintiffs and Class Members
26                 with the full value of the services for which they paid, which
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28
                               CLASS ACTION COMPLAINT - 68
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 69 of 78



 1              included a duty to maintain the confidentiality of its customer
 2              information; and
 3           e. The diminution in value of Plaintiffs’ and Class Members’ PII
 4              and PHI and the loss of privacy due to Defendant making
 5              sensitive and confidential information, such as medical
 6              conditions and testing sought that Plaintiffs and Class Members
 7              intended to remain private, no longer private.
 8        267. Defendant      intentionally   used   the   wire   or   electronic
 9 communications to increase its profit margins. Defendant specifically used

10 the Pixels and Google Tracking Tools to track and utilize Plaintiffs’ and Class

11 Members’ Private Information for financial gain.

12        268. Defendant was not acting under color of law to intercept
13 Plaintiffs’ and Class Members’ wire or electronic communication.

14        269. Plaintiffs and Class Members did not authorize Defendant to
15 acquire the content of their communications for purposes of invading their

16 privacy via the Pixels.

17        270. Any purported consent that Defendant received from Plaintiffs
18 and Class Members was not valid.

19        271. In sending and in acquiring the content of Plaintiffs’ and Class
20 Members’ communications relating to the browsing of Defendant’s Website,

21 Defendant’s purpose was tortious, criminal, and designed to violate federal

22 and state legal provisions including a knowing intrusion into a private, place,

23 conversation, or matter that would be highly offensive to a reasonable person.

24        272. As a result of Defendant’s violation of the ECPA, Plaintiffs and
25 the Class are entitled to all damages available under 18 U.S.C. § 2520,

26 including statutory damages of whichever is the greater of $100 a day for each

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                          CLASS ACTION COMPLAINT - 69
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 70 of 78



 1 day of violation or $10,000, equitable or declaratory relief, compensatory and

 2 punitive damages, and attorney’s fees and costs.

 3                                  COUNT II
                    VIOLATIONS OF THE CALIFORNIA
 4                      INVASION OF PRIVACY ACT
                         Cal. Penal Code §§ 630, et seq.
 5       (On behalf of Plaintiffs A.D., A.O.S. & the California Subclass)
 6        273. Plaintiffs A.D. and A.O.S., on behalf of themselves and the
 7 California Subclass, repeat the allegations contained in the paragraphs above

 8 as if fully set forth herein.

 9        274. The California Invasion of Privacy Act (“CIPA”) is codified at
10 California Penal Code §§ 630 to 638.

11        275. CIPA begins with its statement of purpose:
12               The Legislature hereby declares that advances in science
                 and technology have led to the development of new
13               devices and techniques for the purpose of eavesdropping
                 upon private communications and that the invasion of
14               privacy resulting from the continual and increasing use of
                 such devices and techniques has created a serious threat
15               to the free exercise of personal liberties and cannot be
                 tolerated in a free and civilized society.
16
                 CAL. PENAL CODE § 630.
17
                 California Penal Code § 631(a) provides, in pertinent part:
18               Any person who, by means of any machine, instrument,
                 or contrivance, or in any other manner . . . willfully and
19               without the consent of all parties to the communication,
                 or in any unauthorized manner, reads, or attempts to read,
20               or to learn the contents or meaning of any message,
                 report, or communication while the same is in transit or
21               passing over any wire, line, or cable, or is being sent from,
                 or received at any place within this state; or who uses, or
22               attempts to use, in any manner, or for any purpose, or to
                 communicate in any way, any information so obtained, or
23               who aids, agrees with, employs, or conspires with any
                 person or persons to unlawfully do, or permit, or cause to
24               be done any of the acts or things mentioned above in this
                 section, is punishable by a fine not exceeding two
25               thousand five hundred dollars ($2,500)[.]
26        276. A defendant must show it had the consent of all parties to a
27 communication.

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                           CLASS ACTION COMPLAINT - 70
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 71 of 78



 1        277. At all relevant times, Defendant aided, employed, agreed with,
 2 and conspired with Facebook, Google and likely other third parties to track

 3 and intercept Plaintiffs’ and California Subclass Members’ internet

 4 communications while using the Website, specifically by installing and

 5 configuring the Tracking Tools to permit Facebook and Google to eavesdrop

 6 on and intercept in real-time the content of Plaintiffs’ and California Subclass

 7 Members’ private communications with Defendant.

 8        278. The content of those conversations included highly sensitive
 9 PHI. Through Defendant’s installation and configuration of the Tracking

10 Tools on the First Response Website, these communications were intercepted

11 by Facebook and Google during the communications and without the

12 knowledge, authorization, or consent of Plaintiffs and California Subclass

13 Members.

14        279. Defendant intentionally inserted an electronic device into its
15 Website that, without the knowledge and consent of Plaintiffs and California

16 Subclass    Members, transmitted the substance of their confidential
17 communications with Defendant to third parties.

18        280. Defendant willingly facilitated Facebook’s, Google’s and likely
19 other third parties’ interception and collection of Plaintiffs’ and California

20 Subclass Members’ private medical information by embedding the Tracking

21 Tools on the Website, thereby assisting Facebook’s eavesdropping.

22        281. The following items constitute “machine[s], instrument[s], or
23 contrivance[s]” under the CIPA, and even if they do not, the Tracking Tools

24 falls under the broad catch-all category of “any other manner”:

25            a. The computer codes and programs Facebook, Google and
26              other third parties used to track Plaintiffs’ and California
27              Subclass Members’ communications while they were
28
                          CLASS ACTION COMPLAINT - 71
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 72 of 78



 1              navigating the Website;
 2           b. Plaintiffs’ and California Subclass Members’ browsers;
 3           c. Plaintiffs’ and California Subclass Members’ computing
 4              and mobile devices;
 5           d. Facebook and Google’s web and ad servers;
 6           e. The web and ad servers from which Facebook, Google
 7              and other third parties tracked and intercepted Plaintiffs’
 8              and California Subclass Members’ communications
 9              while they were using a web browser to access or
10              navigate the Website;
11           f. The computer codes and programs used by Facebook and
12              other third parties to effectuate its tracking and
13              interception of Plaintiffs’ and California Subclass
14              Members’ communications while they were using a
15              browser to visit the Website; and
16           g. The plan Facebook, Google and likely other third parties
17              carried out to effectuate their tracking and interception of
18              Plaintiffs’ and California Subclass Members’
19              communications while they were using a web browser or
20              mobile application to visit the Website.
21        282. Defendant failed to disclose that it uses the Tracking Tools to
22 track and automatically and simultaneously transmit highly sensitive personal

23 communications to Facebook and/or Google for targeted advertising.

24        283. The user communication information that Defendant transmits
25 while using the Facebook Pixel, Google Tracking Tools and other tracking

26 technologies constitutes protected health information.

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                          CLASS ACTION COMPLAINT - 72
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 73 of 78



 1        284. As demonstrated hereinabove, Defendant violates CIPA by
 2 aiding and permitting third parties, including Facebook, Google and their

 3 agents, employees, and contractors to receive First Response customers’

 4 online communications in real time through its Website without their consent.

 5 Facebook specifically receives the content of these communications and

 6 understands it, as the FID is assigned by Facebook and Facebook must

 7 understand the content in order to process it and link it to individual Users so

 8 that Facebook may target advertising to those persons based on their

 9 healthcare choices.

10        285. By disclosing Plaintiffs’ and the California Subclass Members’
11 private health information, Defendant violated Plaintiffs’ and California

12 Subclass Members’ statutorily protected right to privacy.

13        286. As a result of the above violations and pursuant to CIPA Section
14 637.2, Defendant are liable to Plaintiffs and California Subclass Members for

15 treble actual damages related to their loss of privacy in an amount to be

16 determined at trial, or for statutory damages in the amount of $5,000 per

17 violation. Section 637.2 specifically states that “[i]t is not a necessary

18 prerequisite to an action pursuant to this section that the Plaintiff has suffered,

19 or be threatened with, actual damages.”

20        287. Under the statute, Defendant is also liable for reasonable
21 attorney’s fees, litigation costs, injunctive and declaratory relief, and punitive

22 damages in an amount to be determined by a jury, but sufficient to prevent

23 the same or similar conduct by Defendant in the future.

24                               COUNT III
      COMMON LAW INVASION OF PRIVACY—INTRUSION UPON
25                               SECLUSION
        (On behalf of Plaintiffs A.D., A.O.S. & the Nationwide Class)
26
          288. Plaintiffs repeat the allegations contained in the paragraphs
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                           CLASS ACTION COMPLAINT - 73
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 74 of 78



 1 above as if fully set forth herein and bring this count on behalf of themselves

 2 and the proposed Class.

 3        289. Plaintiffs and Class Members had a reasonable expectation of
 4 privacy in their communications with Defendant via its First Response

 5 Website and the communication platforms and services therein.

 6        290. Plaintiffs and Class Members communicated sensitive and
 7 protected medical information and individually identifiable information that

 8 they intended for only Defendant to receive and that they understood

 9 Defendant would keep private.

10        291. Defendant’s disclosure of the substance and nature of those
11 communications to third parties without the knowledge and consent of

12 Plaintiffs and Class Members is an intentional intrusion on Plaintiffs’ and

13 Class Members’ solitude or seclusion.

14        292. Plaintiffs and Class Members had a reasonable expectation of
15 privacy because Defendant’s Website states that Defendant is committed to

16 protecting its users’ privacy. Moreover, Plaintiffs and Class Members have a

17 general expectation that their communications regarding healthcare with their

18 healthcare providers will be kept confidential. Defendant’s disclosure of

19 private   medical information coupled with individually identifying
20 information is highly offensive to the reasonable person.

21        293. As a result of Defendant’s actions, Plaintiffs and Class Members
22 have suffered harm and injury, including but not limited to an invasion of

23 their privacy rights.

24        294. Plaintiffs and Class Members have been damaged as a direct and
25 proximate result of Defendant’s invasion of their privacy and are entitled to

26 just compensation, including monetary damages.

27        295. Plaintiffs and Class Members seek appropriate relief for these
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                           CLASS ACTION COMPLAINT - 74
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 75 of 78



 1 injuries, including but not limited to damages that will reasonably compensate

 2 Plaintiffs and Class Members for the harm to their privacy interests as a result

 3 of the intrusion(s) upon Plaintiffs’ and Class Members’ privacy.

 4        296. Plaintiffs and Class Members are also entitled to punitive
 5 damages resulting from the malicious, willful, and intentional nature of

 6 Defendant’s actions, directed at injuring Plaintiffs and Class Members in

 7 conscious disregard of their rights. Such damages are needed to deter

 8 Defendant from engaging in such conduct in the future.

 9                                 COUNT IV
                           UNJUST ENRICHMENT
10               (On behalf of Plaintiffs & the Nationwide Class)
11        297. Plaintiffs repeat the allegations contained in the paragraphs
12 above as if fully set forth herein and bring this count on behalf of themself

13 and the proposed Class.

14        298. Plaintiffs and Class Members conferred a monetary benefit upon
15 Defendant in the form of valuable sensitive medical information that

16 Defendant collected from Plaintiffs and Class Members under the guise of

17 keeping this information private. Defendant collected, used, and disclosed

18 this information for its own gain, including for advertisement purposes, sale,

19 or trade for valuable services from third parties. Additionally, Plaintiffs and

20 Class Members conferred a benefit on Defendant in the form of monetary

21 compensation.

22        299. Plaintiffs and Class Members would not have used Defendant’s
23 services or would have paid less for those services, if they had known that

24 Defendant would collect, use, and disclose this information to third parties.

25        300. Defendant appreciated or had knowledge of the benefits
26 conferred upon it by Plaintiffs and Class Members.

27        301. As a result of Defendant’s conduct, Plaintiffs and Class Members
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                          CLASS ACTION COMPLAINT - 75
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 76 of 78



 1 suffered actual damages in an amount equal to the difference in value between

 2 their purchases made with reasonable data privacy and security practices and

 3 procedures that Plaintiffs and Class Members paid for, and those purchases

 4 without unreasonable data privacy and security practices and procedures that

 5 they received.

 6        302. The benefits that Defendant derived from Plaintiffs and Class
 7 Members rightly belong to Plaintiffs and Class Members. It would be

 8 inequitable under unjust enrichment principles for Defendant to be permitted

 9 to retain any of the profit or other benefits it derived from the unfair and

10 unconscionable methods, acts, and trade practices alleged in this Complaint.

11        303. Defendant should be compelled to disgorge into a common fund
12 for the benefit of Plaintiffs and Class Members all unlawful or inequitable

13 proceeds it received as a result of its conduct alleged herein.

14                            RELIEF REQUESTED
15        304. Plaintiffs, on behalf of themselves and the proposed Class,
16 respectfully request that the Court grant the following relief:

17           a.     Certification of this action as a class action and
18                  appointment of Plaintiffs and Plaintiffs’ counsel to
19                  represent the Class;
20           b.     A declaratory judgment that Defendant violated: (1)
21                  the ECPA; (2) the California Invasion of Privacy Act,
22                  and (3) Plaintiffs’ and Class Members’ privacy rights
23                  as provided at common law;
24           c.     An order enjoining Defendant from engaging in the
25                  unlawful practices and illegal acts described herein; and
26           d.     An order awarding Plaintiffs and the Class: (1) actual
27                  or statutory damages; (2) punitive damages in an
28
                          CLASS ACTION COMPLAINT - 76
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 77 of 78



 1                   amount to be determined at trial; (3) prejudgment
 2                   interest on all amounts awarded; (4) injunctive relief as
 3                   the Court may deem proper; (5) reasonable attorney
 4                   fees and expenses and costs of suit pursuant to
 5                   California Code of Civil Procedure § 1021.5 and/or
 6                   other applicable law; and (6) such other and further
 7                   relief as the Court may deem appropriate.
 8                         DEMAND FOR JURY TRIAL
 9        Plaintiffs, on behalf of themselves and the proposed Class, demand a
10 trial by jury for all claims asserted herein and so triable.

11

12 DATED: September 30, 2024                 /s/ John R. Parker, Jr.
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                           CLASS ACTION COMPLAINT - 77
     Case 2:24-cv-02701-SCR Document 1 Filed 09/30/24 Page 78 of 78



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                       CLASS ACTION COMPLAINT - 78
